      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 1 of 92




 1 Jeffrey L. Hartman, Esq.               Michael S. Budwick, Esq. #938777 – Admitted Pro Hac Vice
   Nevada Bar No. 1607                    Solomon B. Genet, Esq. #617911 – Admitted Pro Hac Vice
 2 HARTMAN & HARTMAN                      Gil Ben-Ezra, Esq. #118089 - Admitted Pro Hac Vice
                                          MELAND BUDWICK, P.A.
 3 510 W. Plumb Lane, Suite B             3200 Southeast Financial Center
   Reno, Nevada 89509                     200 South Biscayne Boulevard
 4 T: (775) 324-2800                      Miami, Florida 33131
   F: (775) 324-1818                      T: (305) 358-6363
 5 notices@bankruptcyreno.com             F: (305) 358-1221
                                          mbudwick@melandbudwick.com
 6                                        sgenet@melandbudwick.com
 7                                        gbenezra@melandbudwick.com

 8 Attorneys for Christina W. Lovato, Chapter 7 Trustee
 9                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
10
     In re                                            Lead Case No.: BK-19-50102-gs
11
                                                      (Chapter 7)
12   DOUBLE JUMP, INC.
                                                      Substantively consolidated with:
13              Debtor.                                19-50130-gs DC Solar Solutions, Inc.
14   Affects:                                          19-50131-gs DC Solar Distribution, Inc.
     ‫ ܈‬DC Solar Solutions, Inc.                        19-50135-gs DC Solar Freedom, Inc.
15   ‫ ܈‬DC Solar Distribution, Inc.
16   ‫ ܈‬DC Solar Freedom, Inc.
     ‫ ܈‬Double Jump, Inc.
17
18   CHRISTINA W. LOVATO,
                                                      Adversary No.:
19              Plaintiff,

20   v.                                               ADVERSARY COMPLAINT
21   NIXON PEABODY LLP,

22              Defendant.
23
             Christina Lovato, in her capacity as the chapter 7 trustee (“Trustee”) for the bankruptcy
24
     estates of DC Solar Solutions, Inc. (“Solutions”), DC Solar Distribution, Inc. (“Distribution”), DC
25
     Solar Freedom, Inc. (“Freedom”), and Double Jump, Inc. (“DJ,” and together with Solutions,
26
     Distribution, and Freedom, “DC Solar” or the “Debtors”), sues Nixon Peabody LLP (“Nixon
27
     Peabody” or “Nixon”) and alleges:
28



                                                     1
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05         Page 2 of 92




 1                                           INTRODUCTION
 2           Forrest Milder, Esq., one of the country’s foremost legal experts in tax advantaged
 3   transactions and a Nixon Peabody senior partner, assisted Jeff Carpoff in perpetrating a massive
 4   Ponzi scheme through and upon DC Solar, causing DC Solar hundreds of millions of dollars in
 5   damages. The Trustee brings this action to recover on behalf of the DC Solar estate.
 6           Mr. Milder and Nixon served a vital role. They devised and implemented the highly
 7   sophisticated tax advantaged renewable energy investments that served as the cash-engine for
 8   Carpoff’s scheme. While the investments brought in massive revenues, they also placed
 9   unsustainable financial obligations upon Solutions and Distributions. By no later than a series of
10   events between April 2016 to March 2, 2017, Mr. Milder acquired actual knowledge that
11   Carpoff was lying to investors, manipulating financial information, pretending to lease most of the
12   MSGs (defined below), and paying investors through a circular flow of money sourced from other
13   investors. And yet, Mr. Milder continued to stand shoulder-to-shoulder with Carpoff, vouching for
14   him and the investment, and closing transactions which Mr. Milder knew would harm his clients:
15   Solutions and Distribution.
16           Nixon had a duty of “undivided loyalty” to its clients: Solutions and Distribution. An
17   attorney’s duty of undivided loyalty is designed to assure the attorney’s absolute and exclusive
18   commitment to the client. This foundational requirement of the attorney-client relationship exists
19   to benefit and protect the client and enhance the public’s confidence in the legal profession.
20           Nixon disregarded this basic responsibility. Nixon violated its professional, fiduciary, and
21   ethical obligations, causing harm to its clients: Solutions and Distribution.
22      I.        BACKGROUND
23           1.     In 2009, Jeff Carpoff – a capable mechanic with a high school diploma but no
24   college degree – founded DC Solar to manufacture, sell, and lease mobile solar generators, an
25   environmentally friendly product, as an entrepreneurial venture.
26           2.     Solutions and Distribution engaged in some legitimate operations and had some
27   non-wrongdoing employees, including in senior positions. However, by 2011, Carpoff also began
28   to perpetrate a Ponzi scheme through and upon Solutions and Distribution.



                                                       2
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 3 of 92




 1          3.      From October 2010 to December 2018, Nixon continuously served as Solutions’
 2   and Distribution’s outside counsel closing more than $2 billion in transactions. Led by senior
 3   partner Mr. Milder, a nationally recognized expert in the billion-dollar marketplace for renewable
 4   energy transactions, Nixon educated, counseled, and directed Solutions and Distribution in
 5   connection with Solutions’ sponsoring over thirty tax equity transactions, and related matters.
 6          4.      Solutions and Distribution relied heavily on Nixon, given their lack of meaningful
 7   experience in sophisticated business transactions, let alone the specialized area of tax equity.
 8   Nixon: (1) taught Solutions and Distribution what to do and how to do it, including structuring the
 9   investments and transactions; (2) performed tax, corporate, and securities-related professional
10   services; (3) marketed the investment opportunity to potential investors; and (4) vouched for
11   Solutions, Distribution, Carpoff, and the investment in the marketplace.
12          5.      Yet, Nixon repeatedly breached its duties, failing to protect its clients, Solutions
13   and Distribution.
14      x   Nixon violated its internal policies by representing Solutions and Distribution without
            written, executed engagement agreements. Nixon’s disregard for basic and critical
15          documentation contributed to its breach of duties and its intentional wrongdoing.
16
        x   Nixon violated the Rules of Professional Conduct, violated its internal policies,, and
17                                                                                    tribution without
            breached its duties by accepting clients adverse to Solutions and Distribution      witho
                                                                                                 ith
            informed consent and a written conflict waiver. Nixon’s representation off those h       h
                                                                                                  other
18
            clients conflicted with its representation of Solutions and Distribution.
19
        x   Nixon saw clear and repeated Red Flags, from which Nixon knew or should have known
20          that Carpoff was engaged in wrongdoing and harming Solutions and Distribution in
21          connection with the transactions that Nixon structured, oversaw, marketed, and closed.

22      x   And by no later than a series of events from April 2016 to March 2, 2017, Nixon obtained
            actual knowledge that Carpoff was lying about core elements of the business and
23          transactions with investors and harming Solutions and Distribution, including by moving
24          money in a circular fashion in classic Ponzi scheme style.

25          6.      Despite the Red Flags and actual knowledge that its clients were being harmed,
26   Nixon continued to violate its duties to Solutions and Distribution. From April 2017 to December
27   2018, Nixon closed at least seven Solutions-sponsored tax equity transactions with an aggregate
28   face value exceeding $700 million. Each transaction drove Solutions and Distribution deeper into



                                                     3
      Case 21-05072-gs           Doc 1    Entered 10/25/21 13:44:05         Page 4 of 92




 1   insolvency. Had Nixon acted properly, Carpoff would not have looted more than $90 million from
 2   Solutions and Distribution during that period.
 3             7.      Nixon failed in its fiduciary and professional duties, including its duties of care,
 4   good faith, loyalty, to avoid conflicts, diligence, competence, and to protect, all owed to its clients:
 5   Solutions and Distribution. And Nixon joined and knowingly and substantially assisted in
 6   Carpoff’s wrongdoing upon Solutions and Distribution.
 7             8.      Nixon was motivated by its desire to reap millions of dollars in legal fees, enhance
 8   and protect its professional work and stature, and advance its close, special relationship with and
 9   allegiance to Carpoff.
10      II.          PARTIES
11             9.      The Trustee is the chapter 7 bankruptcy trustee for the Debtors and their
12   substantively consolidated estates. The Trustee has the capacity to commence this action by way
13   of, among other things, 11 U.S.C. § 323.
14             10.     At all material times, Solutions, Distribution, and Freedom were incorporated and
15   headquartered in California.
16             11.     Nixon is a global Am Law 100 law firm with offices spanning the United States,
17   Europe, and Asia, including in California.
18             12.     Mr. Milder is an attorney, a Nixon partner since 2004, and Nixon’s authorized agent
19   acting within the scope of his authority. Mr. Milder’s resume from Nixon’s website is attached as
20   Exhibit 1. Nixon was responsible for supervising Mr. Milder and his colleagues and is responsible
21   for their wrongdoing related to DC Solar. In 2018, Mr. Milder’s charged $980 per hour.
22      III.         JURISDICTION
23             13.     This Bankruptcy Court has jurisdiction over this Bankruptcy Case and this
24   adversary proceeding under 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S.C.
25   §§ 157(b)(2)(A), (H) and (O). Venue is proper under 28 U.S.C. §§ 1408 and 1409.
26             14.     The Trustee consents to the entry of final orders and judgments by this Court.
27
28



                                                        4
      Case 21-05072-gs          Doc 1     Entered 10/25/21 13:44:05        Page 5 of 92




 1      IV.         FACTUAL BACKGROUND ALLEGATIONS
 2      A. DC Solar and the Carpoff Ponzi Scheme
 3            15.     DC Solar had, at all material times, certain legitimate business operations.
 4            16.     From no later than on or around 2010 through 2018, DC Solar was engaged in a
 5   business related to manufacturing, marketing, selling, and leasing mobile solar generators
 6   (“MSGs”). Freedom was created on June 12, 2015.
 7            17.     Generally, the business purported to operate as follows. Solutions would
 8   manufacture and sell MSGs for $150,000 each. The buyers were typically tax-equity funds, 99%
 9   owned by a financial investor seeking federal investment tax credits. The buyers would pay
10   Solutions a $45,000 down-payment (30% of the total purchase price) and execute a promissory
11   note for the remaining balance. The buyers would lease the MSGs to Solutions-affiliate
12   Distribution, which in turn sub-leased the MSGs to an end-user/sub-lessee. The end-user’s/sub-
13   lessee’s lease payments were intended to cover the interest payments on the promissory note.
14            18.     After five years, ownership of the buyer would be (largely) transferred from the
15   investor to the managing member, an entity affiliated with or controlled by Carpoff.
16            19.     Freedom’s role was to market, brand, and advertise the MSGs and DC Solar.
17   Freedom was a California benefit corporation that promoted the social-conscious nature of solar
18   energy. Freedom was also, at times, an end user of MSGs.
19            20.     DC Solar had significant professional, operational, and other expenses.
20            21.     For certain years, Solutions had its financial statements audited by an auditing firm.
21            22.     The financial investor that acquired the majority stake in the buyer sought to take
22   advantage of valuable tax benefits related to the purchase, use and depreciation of the MSGs.
23            23.     Over the years, Solutions closed over two dozen transactions, purportedly selling
24   over 15,000 MSGs and generating hundreds of millions of dollars of revenue.
25            24.     Distribution sub-let numerous MSGs, for example, in a sub-lease transaction with
26   T-Mobile, USA, Inc. (“T-Mobile”). In CY 2012, Distribution initiated and completed a formal
27   vendor process, and entered into a Field Services Agreement with T-Mobile (“FSA”). Following
28   numerous layers of internal approvals, T-Mobile designated Distribution as a T-Mobile “preferred



                                                        5
      Case 21-05072-gs         Doc 1    Entered 10/25/21 13:44:05        Page 6 of 92




 1   vendor.” T-Mobile regularly utilized DC Solar services through approximately March 2018.
 2   Distribution provided T-Mobile regular services over this time-period, for which T-Mobile
 3   rendered payment. For example, Distribution placed MSGs at sites where cell-phone towers were
 4   not working, charging less than diesel generators while operating more quietly and cleanly.
 5   Distribution maintained the MSGs to ensure they were operating in good working order.
 6          25.     Freedom placed MSGs on university campuses and other locations and worked
 7   towards branding and other marketing and revenue generating opportunities.
 8          26.     Solutions manufactured MSGs it sold in the marketplace.
 9          27.     However, Carpoff, a DC Solar-insider with material but not exclusive control over
10   DC Solar, was also perpetrating a Ponzi scheme (“Carpoff Ponzi Scheme”) through and upon DC
11   Solar. At all material times, Carpoff lived in California.
12          28.     Carpoff caused the DC Solar entities to transfer monies obtained from new
13   investors to cover obligations owed to earlier investors. This was contrary to Carpoff’s
14   representations to financial investors that sub-lessee revenue would pay those obligations. For
15   example, while Carpoff (directly and indirectly) communicated to the financial investors that DC
16   Solar had manufactured over 15,000 MSGs, the actual number was far less. Moreover, Carpoff
17   claimed that DC Solar had a series of sub-lessees willing to pay to utilize the MSGs, but some sub-
18   leases were real while others were not.
19          29.     Carpoff funneled proceeds from new investors to previous investors, cultivating an
20   illusion that a legitimate profitable business opportunity existed to induce further investment.
21          30.     Further, Carpoff looted DC Solar to, among other things, fund his lavish lifestyle,
22   including through casino gambling, the use of private jets, the purchase of real and personal
23   property (such as an automobile collection), and to pay-off co-conspirators and make marketing
24   and other payments to third parties. This was intended to further the Carpoff Ponzi Scheme,
25   including to benefit from the scheme and create the perception that DC Solar was profitable.
26          31.     Because of the harm Carpoff inflicted upon DC Solar through his wrongdoing,
27   including the liabilities he created for DC Solar, DC Solar was insolvent at all material times.
28



                                                       6
      Case 21-05072-gs         Doc 1   Entered 10/25/21 13:44:05        Page 7 of 92




 1      B. Non-Carpoff DC Solar Insiders
 2          32.    Certain DC Solar-insiders besides Carpoff were also wrongdoers and acted with
 3   some or complete knowledge of the Carpoff Ponzi Scheme. These wrongdoers, like Carpoff, acted
 4   adversely to DC Solar.
 5          33.    Certain DC Solar-insiders other than Carpoff, including those who were at certain
 6   times owners, officers, or held executive or management-level positions with differing levels of
 7   control and authority over one or more of the Debtors, were without knowledge of the Carpoff
 8   Ponzi Scheme and Carpoff’s wrongdoing. Had any known of the wrongdoing, each could have
 9   stopped it. A few examples follow.
10          34.    Daniel Briggs was Freedom’s Vice President of Product Development in 2017 and
11   became Freedom’s President prior to the Raid (defined below). Before the Raid: Julie Muraco and
12   Eric Sirotkin were Freedom shareholders and members of its Board of Directors (Mr. Sirotkin was
13   also an officer). Before the Raid: (1) Michael Horan was Solutions’ Chief Technology Officer; (2)
14   Sebastian Jano was Solutions’ Director of Project Finance; and (3) Joshua Daggs was a Solutions
15   accountant with access to DC Solar’s financial information. Before joining Solutions, Mr. Jano
16   worked for a financial investor that had invested with Solutions through a Fund.
17          35.    Some decision-makers at DC Solar did not know about Carpoff’s wrongdoing. At
18   least one DC Solar decision-maker could have stopped the wrongdoing had that person known
19   about it. Had some DC Solar employees been presented with facts of other DC Solar insiders’
20   wrongdoing, they would have taken steps to stop that wrongdoing.
21          36.    The DC Solar insider wrongdoers concealed their wrongdoing from the DC Solar
22   insider non-wrongdoers.
23          37.    Had some of the Funds (defined below) or the investors in the Funds been presented
24   with facts indicating certain DC Solar insiders’ wrongdoing, they could and would have taken
25   steps to stop that wrongdoing - and accomplished this goal.
26      C. The Raid Through the Debtors’ Bankruptcy Filing
27          38.    After a particular DC Solar senior executive discovered that certain other DC Solar
28   insiders were committing wrongdoing, he left DC Solar’s employ. This person discussed with



                                                     7
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05       Page 8 of 92




 1   another former DC Solar employee about how to stop the wrongdoing, and both took active steps
 2   to do so. At least one of them became a “whistleblower” with federal law enforcement, resulting
 3   in the Raid.
 4           39.     On December 18, 2018, federal law enforcement raided DC Solar’s business
 5   locations (“Raid”).
 6           40.     Between the Raid and the Petition Date (defined below), DC Solar made certain
 7   material corporate governance changes. A few examples follow.
 8           41.     Mr. Briggs became the President of Solutions and Distribution, while remaining the
 9   President of Freedom. DC Solar retained GlassRatner Advisory & Capital Group LLC and
10   designated Seth R. Freeman (Glass Ratner employee) as chief restructuring officer (“CRO”) with
11   material authority. The CRO had access to and control over substantially all the Debtors’ books
12   and records and computer servers (that had either not been taken or had been returned by federal
13   law enforcement), and other DC Solar operations and property.
14           42.     Between January 31 and February 5, 2019 (“Petition Date”), Solutions,
15   Distribution and Freedom filed voluntary chapter 11 petitions commencing the above-captioned
16   bankruptcy cases. Mr. Briggs signed the voluntary petitions for Solutions, Distribution and
17   Freedom, in his capacity as President and CEO for each.
18           43.     On March 22, 2019, the Debtors’ chapter 11 bankruptcy cases were converted to
19   chapter 7 and the Trustee was appointed as chapter 7 trustee.
20      V.         NIXON’S ROLE AND WRONGDOING
21      A. The Solutions-Sponsored Tax Advantaged Transactions
22           44.     With certain exceptions, the Solutions-sponsored tax equity transactions typically
23   purported to operate as follows:
24      x    Solutions would sell MSGs to a buyer (an investment fund), often named “Solar
             Eclipse Investment Fund __”, which would pay 30% of the purchase price in cash
25           and Solutions would take back a note for the remaining 70%.
26
        x    The buyer / Fund was majority owned by a financial investor and minority owned
27           by its “managing member,” which held a material level of control.
                 o Both the buyer / Fund and its managing member contracted to outsource
28
                     their responsibilities to Distribution.


                                                     8
      Case 21-05072-gs         Doc 1     Entered 10/25/21 13:44:05       Page 9 of 92




 1                o The buyer / Fund never took possession of the MSGs nor was responsible
                    for their operation, maintenance, or upkeep.
 2
 3      x   The buyer, upon purchase of the MSGs, would contemporaneously lease the MSGs
            to Distribution. Distribution would contemporaneously sub-lease the MSGs to an
 4          end-user.
 5   After the closing of the transaction, the money-flow purportedly was as follows:
 6
        x   The end-user / sub-lessee would pay rent to Distribution; and then
 7
        x   Distribution would pay rent to the Buyer; and then
 8
 9      x   The Buyer would pay on the note to Solutions.

10          45.      Although it received revenue, the buyer/Fund did not seek or obtain a material cash-
11   profit on the investment; its cash payments from Distribution were at or around the note payments
12   due to Solutions. Rather, its primary financial motivation (and the source of its profit) was the
13   favorable tax benefits flowing to the financial investor as the Fund’s majority owner.
14          46.      Each transaction was supported by a projection of cash flows to be paid by the end-
15   user(s). The projection supported the purchase price and the corresponding tax credits.
16      B. Solutions’ and Distribution’s Retention of Nixon
17          47.      In 2009, Carpoff was a capable mechanic with a high school diploma but no college
18   degree. Carpoff created the MSG and understood its technical aspects. However, Carpoff had
19   neither meaningful experience in nor an understanding of sophisticated business transactions, let
20   alone tax equity transactions.
21          48.      Solutions (created on July 30, 2009) and Distribution (created on September 29,
22   2010) were start-up companies in the MSG-related business. Carpoff was a senior executive.
23          49.      Nixon is a premier law firm with a specialty in sophisticated transactional matters.
24   At all material times, Mr. Milder was among the firm’s lead partners for sophisticated transactions
25   where developers (a/k/a “sponsors”) of projects utilize tax equity, i.e., third-party investment is
26   driven by favorable tax benefits.
27          50.      By October 20, 2010, Nixon agreed to accept Solutions as a client. Around the same
28   time, Nixon also accepted Distribution as a client.



                                                      9
      Case 21-05072-gs         Doc 1     Entered 10/25/21 13:44:05         Page 10 of 92




 1           51.     Nixon did not require a retainer from Solutions or Distribution.
 2           52.     Nixon understood Solutions’ and Distribution’s purported business model, knew
 3   they were a start-up operation, and knew they and Carpoff had no meaningful experience in nor
 4   an understanding of sophisticated business transactions, let alone tax equity transactions.
 5           53.     Nixon understood that Solutions and Distribution were taking entrepreneurial risk
 6   with this venture and that the MSGs were in the early stages of commercialization.
 7           54.     Nixon knew that Solutions and Distribution could offer tax advantaged investments
 8   through sophisticated business transactions only with the participation and assistance of a
 9   specialist in the field, i.e., Nixon, taking the lead.
10       C. Nixon Failed to Properly Document its Representations and Conflicted
            Representation of Solutions and Distribution
11
12           55.     Nixon failed to properly document its representation of Solutions and Distribution,

13   was conflicted in those representations, and did not properly account for those conflicts.

14           56.     Over time, Nixon represented: (1) Solutions; (2) Distribution; and (3) the managing

15   member of each Fund. The managing members were: (i) Solarmore Investment Services, Inc.

16   (“Solarmore     Investment”);      (ii)   Solarmore      Management   Services,    Inc.   (“Solarmore

17   Management”); and (iii) Halo Management Services, LLC (“Halo Management,” and with

18   Solarmore Investment and Solarmore Management, the “Managing Member(s)”).

19           57.     Nixon understood that the Managing Member owed a fiduciary duty to the

20   financial-investor and the Fund.

21           58.     Nixon also represented certain of the Funds (discussed below).

22           59.     Carpoff had material but not exclusive control over Solutions, Distribution, the

23   Managing Member, and the Fund (through the Managing Member). Thus, Carpoff had significant

24   control over each side of the transaction.

25           60.     Nixon never executed an engagement agreement with any of the following of its

26   clients: Solutions, Distribution, Solarmore Investment, Solarmore Management, Halo

27   Management, and any of the Funds. This violated Nixon’s standard practice and internal policies.

28           61.     Nixon never obtained written conflict waivers or informed consent between and



                                                         10
      Case 21-05072-gs         Doc 1    Entered 10/25/21 13:44:05          Page 11 of 92




 1   among the following of its clients: Solutions, Distribution, Solarmore Investment, Solarmore
 2   Management, Halo Management, and any of the Funds. This violated Nixon’s standard practice
 3   and internal policies, and the Rules of Professional Conduct.
 4           62.     Nixon knew that the affiliated nature of the entities participating in the transactions,
 5   and the entities’ roles, required it to employ a higher level of scrutiny for wrongdoing (especially
 6   given that Nixon represented the seller, the lender, the buyer, the buyer’s managing member, and
 7   the lessee/sub-lessor).
 8           63.     Nixon failed to adequately advise Solutions and Distribution to put in place
 9   appropriate checks, balances, and oversight features to mitigate the risks for abuse given that one
10   person – Carpoff – had significant control over all sides of the transaction.
11           64.     Nixon was required to give its undivided loyalty and the highest standards of
12   fiduciary obligations, including to avoid conflicts, to Solutions and Distribution but did not.
13   Rather, Nixon represented clients – such as the Managing Members and some of the Funds – with
14   interests that conflicted with those of Solutions and Distribution.
15       D. Nixon Represented Some of the Funds, Which Were Parties in Conflict with
            Solutions and Distribution, Without Obtaining Written and Informed Consent
16
17           65.     At times, Nixon represented some of the Funds. Nixon did not execute engagement

18   agreements with these clients and failed adequately to inform Solutions or Distribution of the

19   conflicts of interest by virtue of these representations or obtain the informed written consent by

20   Solutions or Distributions to waive such conflicts, to the extent they were waivable.

21           66.     The following, as examples, demonstrate Nixon’s representation of at least some

22   of the Funds.

23           67.     First, Nixon wrote letters stating that some of the Funds were Nixon’s clients. Two

24   examples are attached as Composite Exhibit 2.

25           68.     Second, on at least one occasion in 2017, Nixon publicly filed a court paper

26   identifying a particular Fund as its client.

27           69.     Third, some of the Funds have stated in a public filing that “Nixon Peabody and

28   [Mr.] Milder were retained by [some of the Funds] to provide legal opinions in connection with



                                                       11
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 12 of 92




 1   the DC Solar Transactions.”
 2          70.      Fourth, some of the Funds paid legal fees to Nixon.
 3          71.      Fifth, each of Nixon’s Transaction Opinions (defined below) was addressed to a
 4   particular Fund (as well as the investor in that fund).
 5          72.      Sixth, Nixon represented the Managing Members, each of which (as Nixon knew)
 6   owed a fiduciary duty to one or more of the Funds.
 7      E. Nixon Undertook a Very Broad Scope of Representation of Solutions and
           Distribution
 8
 9          73.      Nixon assumed a very broad scope of representation of Solutions and Distribution.

10   It was a general representation. Among other things, Solutions and Distribution retained Nixon to

11   educate, direct, counsel, and advise them in connection with the wide spectrum of issues relating

12   to Solutions serving as a sponsor of (and Distribution as a participant in and Solutions also as a

13   lender in) tax advantaged transactions. The representation included related issues, such as any

14   government challenge.

15          74.      Nixon had the expertise and willingness to teach Solutions and Distribution

16   everything about tax advantaged transactions and provide them with the requisite credibility in the

17   marketplace, including by marketing and offering the investment opportunities.

18          75.      Nixon’s broad scope of representation is evidenced by, among other things, the

19   scope of services it performed and was expected to perform, and items reasonably and readily

20   apparent to it. Further, Nixon had a duty to protect its client in every possible way.

21                a. Nixon’s Role in the First Transaction

22          76.      Nixon’s role in connection with Solutions’ first tax advantaged transaction evince
23   Nixon’s broad scope of representation throughout and the depth of its involvement.
24          77.      In this first transaction, the financial investor was Sherwin-Williams Co. and the
25   buyer / Fund was “Solar Eclipse Investment Fund III, LLC.”
26          78.      On December 9, 2010, Mr. Milder wrote to Carpoff:
27          I’ve enclosed a closing checklist for this transaction, which is undoubtedly longer
            than you were contemplating. While there is a lot of stuff here, it isn’t something
28          that we “dreamt up”; a list like this, with about this many documents is in every tax


                                                      12
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 13 of 92




 1           credit transaction. We can certainly have a conversation with [Sherwin Williams]
             and find out what his expectations are; to date, his attitude has been totally unlike
 2           anything I have ever seen, but then I’ve only been doing this for 30 years.
 3
     Nixon was the teacher while Solutions, Distribution, and Carpoff were Nixon’s students.
 4
             79.     On December 14, 2010, Mr. Milder wrote to Carpoff:
 5
             …Sherwin Williams seems to not care whether there is any diligence, although
 6           they have indicated a desire for an [Nixon] tax opinion. That puts the burden
             on us to take many steps and ask for documents that we normally provide to the
 7           investor, and expect THEM to review.
 8
             As we have discussed, this becomes exceedingly awkward, as we have to tell you
 9           to scale back their requirements based on our experience and knowledge of
             the law and the industry. This is why I said that [Sherwin Williams] should only
10           have a 99% interest at the start (not the 99.99% that they were willing to have), why
11           I thought they should have a regular cash distribution (not the nothing they seem to
             want), a 5% back end (not the 1% they were willing to take), and a put/call for fair
12           market value (and not the nominal amount that they are happy to accept). I hate to
             be scaling back any favorable parts of your deal when the investor doesn't
13
             seem to care. And, in a normal situation, I would just sit back and let the investor
14           tell us what would make them happy, and count on THEIR counsel to reign them
             in where their needs were less than usual opinion standards.
15   (caps in original, other emphasis added).
16   Mr. Milder structured the transaction, directing what its terms should and should not be. That Mr.
17   Milder advised Solutions to scale back favorable deal-points offered by the investor highlights his
18   dominant role. Indeed, Mr. Milder knew that the investor (adverse to Solutions, Nixon’s client)
19   was relying on Nixon for advice and diligence, which Mr. Milder described as “exceedingly
20   awkward” and not “a normal situation.” Nonetheless, Nixon went forward.
21           80.     On December 16, 2010, Nixon circulated first drafts of transactional documents for
22   this transaction.
23           81.     On December 30, 2010, Mr. Milder wrote to Carpoff:
24         If your firm has done numbers for tax credit deals several times before, then great.
           But if not, then please don't forget that this is not a matter of me explaining to a
25
           CPA, no matter how smart he is, what I need. I’m not an accountant, nor am I an
26         expert in spreadsheets. I don’t prepare numbers. I review the accountant’s
           numbers, and I look for oddities and things that don’t seem to work.
27   (emphasis added).
28



                                                      13
     Case 21-05072-gs         Doc 1     Entered 10/25/21 13:44:05       Page 14 of 92




 1   Mr. Milder then directed Solutions to a replacement accounting firm, Novogradac & Co. (with
 2   whom Mr. Milder had a close professional relationship), which Solutions hired. Nixon’s broad
 3   representation included leading Solutions’ professional team and reviewing Solutions’ other
 4   professionals’ work to address “oddities” and ensure the deal “work[ed]” for Solutions.
 5          82.      Nixon closed the first Solutions-sponsored transaction in March 2011.
 6                b. Nixon’s Corporate and Securities Roles
 7          83.      For all (or nearly all) of the transactions, Nixon was counsel to each of: (1)
 8   Solutions; (2) Distribution; and (3) the Managing Member (which owed a fiduciary duty to the
 9   respective financial investor and the Fund); including in connection with each of:
10      x   The financial investor’s investment in the Fund – made up of the Managing Member and
11          the financial investor – that was the contract counter party for Solutions and Distribution;

12      x   The LLC agreement executed by the Managing Member and the financial investor,
            governing their relationship as co-owners of the Fund (the LLC); and
13
14      x   The Fund’s participation in owning, operating, leasing, and maintaining the MSGs.
15          84.      For all (or nearly all) of the transactions, a “Notice of Transaction Pursuant to
16   Corporations Code Section 25102(f)” was filed with the State of California, which identified the
17   “Securities Offered or Sold” as “Interest-Limited Liability Company,” i.e., the interests in the
18   Funds purchased by the financial investor as part of the transaction.
19          85.      Nixon represented its clients on offering and securities-issues in connection with
20   the transactions. For example, Nixon represented Solutions (the sponsor) in connection with the
21   investor-member’s investment in the Fund.
22          86.      And Nixon worked on corporate matters in connection with the transactions, such
23   as structuring the various entities, addressing the ownership of various entities, and drafting and
24   editing transactional documents.
25          87.      Nixon also represented some of the Funds (as discussed).
26
27
28



                                                     14
     Case 21-05072-gs           Doc 1   Entered 10/25/21 13:44:05       Page 15 of 92




 1                c. Nixon’s Marketing and Participation in Solutions’ Marketing of the
                     Investment Opportunity to Potential Investors
 2
 3          88.      Nixon marketed and offered, and participated in Solutions’ marketing and offering,

 4   the investment opportunity to potential investors. Nixon intended to, and did, make the investors

 5   comfortable with Solutions, Carpoff, and the investment.

 6          89.      This was especially important given: (1) Nixon’s (Mr. Milder’s) premier stature in

 7   the marketplace; and (2) Solutions’ and Carpoff’s meaningfully non-existent track record.

 8          90.      Nixon’s first work-product for Solutions, written by Mr. Milder, was a November

 9   1, 2010 memorandum describing the investment opportunity (“Nixon 2010 Marketing Memo”).

10   Nixon wrote the Nixon 2010 Marketing Memo “to assist [Solutions] in marketing” the investments

11   by sharing it with potential investors. As Nixon intended, Solutions delivered the Nixon 2010

12   Marketing Memo to potential investors as part of its marketing efforts to solicit investments.

13          91.      On May 24, 2011, Solutions emailed Mr. Milder to approve the marketing package

14   and messaging it had been using to solicit potential investors:

15          Forrest [Milder],

16          This is what I have been sending out to elicit interest in the ITC transactions.
            Is this Okay?
17
18          Brian Caffrey
            Director of Sales
19          DC Solar Solutions []
20
     [“ITC” refers to the “Solar Income Tax Credit.”]
21          92.      The Solutions marketing package attached to the May 24th email states: “DC Solar
22
     works with NIXON PEABODY LAW FIRM” (caps in original) a “leading tax authority on solar
23
     project finance transactions,” and describes Nixon as Solutions’ “team partner.” Solutions’
24
     marketing package included the Nixon 2010 Marketing Memo and a Mr. Milder-authored article
25
     regarding tax benefits in renewable energy transactions.
26
            93.      On August 10, 2011 (three months later) (“August 10, 2011 Email”), Solutions’
27
     Director of Sales emailed a potential investor, copying Mr. Milder:
28
            I wish to thank you both very much for your time and interest in DC Solar and our


                                                     15
      Case 21-05072-gs       Doc 1     Entered 10/25/21 13:44:05        Page 16 of 92




 1         Investment Tax Credit program. We are very excited at the prospect of doing
           business with such a time honored and respected company such as Norfolk
 2         Southern. In the interest of good information I have attached the resumes of Mr.
 3         Forrest Milder of Nixon Peabody Law, and Mr. Steve Tracy of Novogradac
           Accounting. We feel their presence on our team speaks to the credibility and
 4         integrity of our ITC programs, and to the purposeful, responsible effort of our
           CEO, Mr. Jeff Carpoff to provide the very best for our business partners.
 5   (emphasis added).
 6
     To emphasize Mr. Milder’s “presence on [Solutions’] team,” Mr. Milder’s resume was placed on
 7
     DC Solar letterhead and stationery. The August 10, 2011 Email (with Mr. Milder’s resume as an
 8
     attachment but without other attachments) is attached as Exhibit 3.
 9
            94.     Solutions distributed the Nixon 2010 Marketing Memo and Mr. Milder’s resume
10
     on DC Solar letterhead and stationery to its outside placement agent to disseminate to potential
11
     investors as part of Solutions’ investment offering materials.
12
            95.     On October 7, 2013, Nixon provided Solutions with an updated memorandum on
13
     the investment opportunity, again, to continue to “assist [Solutions] in marketing” the investments
14
     (“Nixon 2013 Marketing Memo”). Nixon provided the Nixon 2013 Marketing Memo to Solutions
15
     and Solutions’ outside placement agent to use in offering the investments to potential investors.
16
            96.     Solutions maintained a public website to facilitate Solutions’ marketing to potential
17
     investors.
18
            97.     Solutions’ website identified Nixon and Mr. Milder as its counsel, at times
19
     displaying a picture of Mr. Milder. Carpoff and Solutions promoted and leveraged Nixon’s and
20
     Mr. Milder’s name, prominence, and image to enhance their credibility to potential investors.
21
     Nixon knew this.
22
            98.     In fact, in August 2013, Ron Roach (an accountant and Carpoff co-conspirator)
23
     informed the IRS at an in-person meeting that Solutions “advertises” its affiliation with Nixon and
24
     Mr. Milder in marketing its tax advantaged investment opportunity to potential investors, including
25
     through its website. By December 2014, Nixon knew this.
26
            99.     The Nixon name, logo, and relationship with Solutions remained on Solutions’
27
     website as part of Solutions’ “advertis[ing]” for years. Nixon knew this.
28



                                                     16
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 17 of 92




 1          100.    Solutions shared Nixon’s Transaction Opinions from earlier transactions with
 2   potential investors in future Solutions-sponsored transactions (redacted as to certain identifying
 3   information) as part of its marketing efforts. Nixon knew this.
 4          101.    At least one entity considering doing business with Solutions or Carpoff requested
 5   a reference from Nixon, which Nixon provided. At least one potential investor (that later invested)
 6   sought Nixon’s subjective “impression” of Carpoff, which Nixon shared.
 7          102.    Nixon vouched for Solutions, Distribution, and Carpoff in the marketplace. Nixon’s
 8   repeated “stamp of approval,” as a leading expert in the field, was essential to the marketing and
 9   offering of the investment opportunity.
10              d. Nixon was the Gatekeeper
11          103.    Nixon was the “gatekeeper,” serving as the reputational intermediary for Carpoff
12   and Solutions into the investor / securities marketplace. Nixon had the ability to thwart Carpoff’s
13   misconduct by withholding its support and other essential services for the transaction.
14          104.    Nixon’s representation of Solutions, Distribution, and the wide range of other
15   players in connection with the transactions, and knowledge of the players and their sophistication
16   and experience (or lack thereof), enhanced its gatekeeper function.
17          105.    Solutions and Distribution retained Nixon to serve in this gatekeeper role, and many
18   (if not all) investors and Funds relied on Nixon in this role. The Solutions-sponsored transactions
19   would not have closed unless Nixon served in this role.
20              e. Nixon’s Transaction Opinions
21
            106.    Nixon’s scope of representation included issuing its “opinion” (sometimes referred
22
     to as a “tax opinion” but in fact far broader) on the transaction (“Transaction Opinion”). Nixon
23
     issued its Transaction Opinion at the closing of the transaction, reflecting Nixon’s approval and
24
     endorsement of the transaction.
25
            107.    All (or nearly all) of the investors and Funds required and relied upon a Transaction
26
     Opinion from Nixon, absent which they would not have made their investment and closed each
27
     particular transaction. Nixon knew this.
28



                                                     17
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 18 of 92




 1          108.    Nixon performed a great deal of due diligence on Solutions and the transaction in
 2   order to issue its Transaction Opinion. As examples, Nixon reviewed the relevant entities’
 3   operating documents, leases, management contracts, and financial projections.
 4          109.    In issuing its Transaction Opinions, Nixon was required to ensure that its
 5   representations and assumptions were reasonable, and to reject any representation or assumption
 6   that was unreasonable or conflicted with actual facts (or where appropriate, obtain clarification or
 7   supporting information).
 8          110.    In connection with all (or nearly all) of the Transaction Opinions, Nixon
 9   represented that (1) the MSG-purchase price of $150,000 was appropriate under the circumstances;
10   (2) the MSG would be leased to end users; (3) lease revenue would be used to pay the Fund to pay
11   Solutions; and (4) the financial models reflected the terms and conditions of the transactions.
12              f. Nixon and Carpoff Had a Close and Special Relationship
13          111.    The close and special relationship between Nixon and Carpoff contributed to
14   Nixon’s poor judgment and wrongdoing. A few examples evincing this relationship follow.
15          112.    First, as reflected in the August 10, 2011 Email (¶93 above and Exhibit 3).
16          113.    Second, on May 7, 2012, Carpoff wrote to Mr. Milder:
17           You are the most important piece to our success and I brag on you daily. I
18           would never ever take the word of another Tax attorney over you or even consider
             having anybody but you represent me.. After all, you are the world famous
19           Forrest Milder…I can’t do this without you and would not even try.
     (sic, and emphasis added).
20
21          114.    Third, on November 6, 2012, Carpoff and Mr. Milder emailed each other:

22      x   From Carpoff to Mr. Milder:

23
            I just wanted to take a minute thank you for all your hard work on the USB deal
24          and hope to another one soon? You are very special to me and wanted to once
            again thank you for believing in me.
25
26      x   A few hours later, Mr. Milder responded:

27           Thanks, and as you know, I think you are the best of the best.
     (sic, and emphasis added).
28



                                                     18
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 19 of 92




 1          115.    Fourth, Carpoff routinely flattered Mr. Milder with superlatives. As examples, on
 2   (1) December 10, 2010; (2) October 12, 2011; (3) December 22, 2011; (4) May 7, 2012; (5)
 3   October 17, 2012; and (6) December 17, 2013; Carpoff referred to Mr. Milder in writing (emails
 4   to Mr. Milder) as the “World Famous Forrest Milder” or similar language.
 5          116.    Fifth, Nixon nurtured this close and special relationship as Mr. Milder basked in
 6   the gratification of his ego. Mr. Milder: (1) did not correct Carpoff’s adulation, including those
 7   using superlatives; and (2) described Carpoff to others in glowing terms, including as a “great
 8   American success story.”
 9          117.    Sixth, Nixon ignored its own policies and practices by representing multiple
10   Carpoff-affiliated entities without adequate engagement agreements or conflict waivers, closing
11   transactions each year from 2011 to 2018.
12          118.    Seventh, Nixon’s marketing of and vouching for the investment opportunity is
13   atypical for sponsor’s counsel in a tax equity transaction. Nixon placed its “seal of approval” on
14   the investment and Carpoff. Nixon vouched for Carpoff’s character, bona fides, and integrity.
15   Nixon sanctioned Carpoff’s use of its name and logo in its advertising and marketing.
16          119.    Eighth, Nixon’s tax equity group is selective in its acceptance of clients. It is
17   atypical for Nixon to accept a client with no meaningful track-record or sophistication in the tax
18   equity marketplace seeking to perform large and complex transactions.
19          120.    Ninth, atypically, Nixon did not require a retainer from Solutions or Distribution.
20          121.    Tenth, over the years Mr. Milder shared meals with Carpoff (at least) approximately
21   ten or twelve times, usually in California.
22              g. The Transactions
23          122.    From 2011 to 2018, Nixon represented Solutions and Distribution in connection
24   with over thirty transactions, including (closing date and face-amount):
25      x   March 23, 2011                 $28.8 million transaction.
26      x   December 16, 2011              $33.6 million transaction.
        x   October 31, 2012               $15 million transaction.
27      x   December 21, 2012              $22.5 million transaction.
28      x   March 27, 2013                 $37.5 million transaction.



                                                     19
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05         Page 20 of 92




 1      x   December 16, 2013              $16.5 million transaction.
        x   December 23, 2013              $20.25 million transaction.
 2
        x   March 28, 2014                 $34 million transaction.
 3      x   June 20, 2014                  $34 million transaction.
        x   September 19, 2014             $15 million transaction.
 4      x   December 12, 2014              $30 million transaction.
 5      x   December 18, 2014              $30 million transaction.
        x   March 18, 2015                 $34 million transaction.
 6      x   March 10, 2015                 $25.8 million transaction.
 7      x   July 17, 2015                  $45 million transaction.
        x   December 15, 2015              $18.75 million transaction.
 8      x   August 19, 2015                $171 million transaction.
 9      x   December 23, 2015              $26 million transaction.
        x   February 29, 2016              $16.8 million transaction.
10      x   March 22, 2016                 $33.75 million transaction.
        x   May 10, 2016                   $342 million transaction.
11
        x   April 29, 2016                 $16.8 million transaction.
12      x   November 29, 2016              $99.6 million transaction.
        x   December 28, 2016              $45 million transaction.
13      x   January 27, 2017               $16.8 million transaction.
14      x   May 2, 2017                    $342 million transaction.
        x   May 17, 2017                   $198.9 million transaction.
15      x   July 5, 2017                   $16.8 million transaction.
16      x   June 30, 2017                  $64.5 million transaction.
        x   June 15, 2018                  $198.9 million transaction.
17      x   July 16, 2018                  $342 million transaction.
18      x   November 29, 2018              $48.75 million transaction.

19   (together, the “Transactions”).

20          123.    All (or nearly all) of the Transactions required Nixon to issue a Transaction Opinion

21   and perform the accompanying due diligence and other responsibilities.

22          124.    All (or nearly all) of the investors and Funds relied on Nixon, including its role,

23   seal of approval, and representations, in entering the Transactions. Carpoff needed Nixon to

24   perform these roles, or else the Transactions would not have closed.

25      F. Before April 2016 to March 2017: Nixon saw Red Flags of Wrongdoing, and Knew
           or Should Have Known That Carpoff was a Wrongdoer
26
            125.    Leading up to April 2016 to March 2, 2017, Nixon identified red flags of
27
     wrongdoing by Carpoff (“Red Flags”).
28



                                                     20
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 21 of 92




 1              a. Nixon Knew or Should Have Known that Carpoff was Misrepresenting the
                   Financial Projections Upon which the Transactions were Based
 2
 3          126.    Nixon knew or should have known that Carpoff was misrepresenting financial

 4   projections upon which the transactions were based.

 5          127.    For example, on March 15, 2011, seven days before the close of the first Nixon-

 6   counseled and Solutions-sponsored tax advantaged transaction, Mr. Milder described to Carpoff

 7   and Novogradac (Solutions’ accounting firm) a “fundamental problem” with the transaction and

 8   financial projections:

 9          [A]t one point, it appeared that $800 per month was a reasonable rent [for an MSG],
            while Jeff [Carpoff] now expects to get $950 for the [MSG] units.
10
            128.    The next day, March 16, 2011, Novogradac told Mr. Milder that, in support of the
11
     financial projections, Carpoff claimed to be able to lease the MSGs: (1) in bulk at $1200 per MSG;
12
     and (2) on a retail / unit-by-unit basis at $1800 per MSG.
13
            129.    This was a huge increase over and above the 15.7% increase Mr. Milder had
14
     questioned the day before. Mr. Milder recognized Carpoff was lying, writing to him:
15
            Jeff – do you REALLY think you can rent all 192 [MSGs] without any “vacancies”
16          for more th[a]n double what was originally projected? I think we ALL [should]
17          invest!

18          130.    Nixon never received a substantive explanation.
19              b. Nixon Knew of Should Have Known that the MSG-Sale Price was Fictional
                   and Over-Stated
20
21          131.    The $150,000 MSG-sale price was integral to each transaction and each investor’s

22   decision to invest because, among other things, it dictated the amount of the investor’s tax benefit.

23          132.    Nixon knew the $150,000 price was fictional and overstated. Nixon knew this sale-

24   price was approximately 2.5 times the cost to construct an MSG, which Nixon described as a

25   “significant markup” “bound to get the IRS’s attention” and “tough” to defend in the event of a

26   challenge by the IRS.

27
28



                                                      21
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 22 of 92




 1          133.    And Nixon knew that the sale price for each MSG never changed. The MSG-price
 2   remained precisely the same at $150,000 for every (or nearly every) transaction, every year for
 3   many years, somehow immune to inflation or market-forces.
 4          134.    In December 2014, the IRS wrote to Mr. Milder in connection with Nixon’s
 5   representation of Solutions and the applicable Fund:
 6         [I]t is the Government’s position that all evidence in this case indicate the value
           of the [MSG], which directly correlates to the amount of the tax credits and
 7         depreciation deduction, was greatly inflated for the purpose of tax avoidance.
 8         Moreover, the underlying financial transactions have no economic substance;
           and, as such, for these reasons, the deduction and tax credits have been disallowed
 9         and the gross valuation misstatement penalty applies.
     (emphasis added).
10
11          135.    Nonetheless, Nixon continued to close transactions premised on the $150,000 per

12   MSG sale price.

13              c. Nixon Asked Carpoff For Evidence of “Real Sales”

14          136.    For years Nixon sought proof from Carpoff that Solutions had sold an MSG for
15   $150,000 to an unrelated third party to support that pricing. Nixon described these as “real” sales
16   or sales to “real” or “true” third parties. Nixon used this description because it believed the
17   $150,000 sale price to investors seeking tax benefits to be fictional and overstated.
18          137.    On December 1, 2010, before the first transaction closed, Mr. Milder challenged
19   Carpoff regarding the $150,000 purchase price and asked for support:
20          I remember you originally telling me that the units went for $100,000 a piece,
            that you had sold some of the units for $100,000, with the markup being $30,000
21          on your $70,000 cost. Indeed, I remember specifically discussing these numbers
22          on our first call, and I observed that your markups were far more realistic than
            Mobile Power’s. However, today, you said $150,000, meaning that your
23          markup has gone from 43% to 115%.
24
           Has the price changed, and do you have any illustrative sales of the units to true
25         third parties for $150,000?
     (emphasis added).
26
            138.    On October 17, 2014, Mr. Milder wrote to Carpoff to convey his belief that the
27
     $150,000 purchase price was artificial and fictional:
28



                                                     22
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 23 of 92




 1          [W]e do have one possible strategy that I mention from time-to-time, and I’ll
            mention it again now -- selling a few units [MSGs] for $150,000 to real third
 2          parties (and I don’t mean Lou! That transaction also has Jeff [Carpoff] on
 3          both sides, even if the one side is as a manager.) Over the years, I have said
            how great it would be if we had a few sales to a movie studio, or NASA, or
 4          somebody. “Hey IRS! See this bill of sale? The US Government bought some
            of these units for $150k, and who’s a better judge of their value than that?”
 5
 6   (emphasis added). A copy of this October 17th email is attached as Exhibit 4.

 7          139.    Twenty months later, on June 1, 2016, Mr. Milder wrote to Carpoff, with the

 8   subject-line: “IMPORTANT -- PLEASE READ.” Mr. Milder lamented the lack of “real sales” at

 9   a $150,000 price imploring Carpoff at long last to provide proof of any:

10          I have been hearing for a long time about a few past sales of individual units
            for $150,000 each, and the high likelihood of new sales to the US government for
11          $150,000. I have also suggested that it would be great to have a sale or two to
            a movie production company, or someone else obvious that would support our
12          position. NOW IS THE TIME! … We really need this now.
13                                                 ***
            Anyway, my guess is that [the IRS] engineer is going to do the same thing – he’s
14          pretty likely to conclude that the units are worth way less than $150,000.
            Again, some REAL SALES would be great here.
15
16   (emphasis added, caps original). A copy of this June 1st email is attached as Exhibit 5.

17          140.    Two weeks later, on June 30, 2016, Mr. Milder again wrote to Carpoff:

18         Sales of Units to the US. We discussed about a month ago the possibility of a
           closing on the sale of a dozen or so units to the US government for $150,000.
19         Obviously, this would be very supportive of our position on valuation. Where is
           that transaction? Please give me some kind of update on when it is expected to
20
           close and what the sales price will be.
21   (emphasis added).

22          141.    Nixon never received proof of a “real” sale to the US government.
23              d. Nixon Worked with Carpoff to Feign Compliance with Tax Requirements
24
            142.    Nixon advised Carpoff of the tax requirement that the Managing Member (i.e., the
25
     managing member of the Fund, which owned 1% of the Fund) itself must be owned 21% or more
26
     by a party unrelated to Solutions for the Funds / investors to receive the tax benefits that drove the
27
     transactions. This is referred to as the “Unrelated Party Requirement”.
28



                                                      23
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 24 of 92




 1          143.    Carpoff knew that compliance with the Unrelated Party Requirement put his fraud
 2   at risk, because the “unrelated party” would have visibility into and authority over the transactions
 3   and flow-of-funds. Thus, Carpoff used strawmen or related parties to feign compliance.
 4          144.    Nixon knew or should have known these persons were strawmen or related parties
 5   and therefore: (1) the Transactions did not comply with tax law; and (2) Carpoff’s representations
 6   were false. And thus, that Solutions and Distribution were being harmed with every transaction.
 7          145.    Nixon worked with Carpoff to conceal the use of strawmen and related parties, even
 8   though Mr. Milder understood that this deception was “putting lipstick on a pig.” Exhibit 4.
 9                  (i)     Patrick Moore / Solarmore Investments
10          146.    Patrick Moore served as an “owner” of Solarmore Investments but was Carpoff’s
11   strawman. Solarmore Investments was the Managing Member for certain Funds in the first series
12   of transactions.
13          147.    In early December 2010, in connection with the first Solutions-sponsored tax
14   advantaged transaction, Mr. Milder explained the Unrelated Party Requirement to Carpoff and
15   advised Carpoff to divest himself of 21% of Solarmore Investments. As the Managing Member,
16   Solarmore Investments would own just 1% of the Fund.
17          148.    Carpoff misunderstood. Carpoff mistakenly believed that Mr. Milder had directed
18   him to sell 21% of Solutions – his primary business – to the unrelated third party. Thus, Carpoff
19   transferred 21% of Solutions to Patrick Moore.
20          149.    On December 17, 2010, Mr. Milder asked “to see the documentation on the 21%
21   guy and know who the guy is.” That day, Carpoff caused Mr. Milder to receive the stock certificate
22   and stock purchase agreement reflecting Carpoff’s sale of 21% of Solutions to Patrick Moore.
23          150.    On February 9, 2011 – two months later – Mr. Milder and Carpoff recognized the
24   mistake. Mr. Milder wrote to Carpoff:
25          I am sorry for the confusion. … For what it’s worth, I can honestly say that I simply
            wouldn’t have suggested that a client sell 21% of his business just so he could
26          achieve a tax result, unless the client told me in no uncertain terms that he
27          understood and was willing to do it. The fact that no one jumped up and down and
            said “Does Jeff [Carpoff] really have to sell 21% of his business” is consistent with
28          that view.



                                                      24
      Case 21-05072-gs       Doc 1     Entered 10/25/21 13:44:05         Page 25 of 92




 1          151.    To remedy his mistake, Carpoff simply swapped Patrick Moore’s ownership
 2   interest from: (a) 21% of Solutions; to (b) 21% of Solarmore Investments.
 3          152.    Nixon knew this. Indeed, Solutions and Solarmore Investments were both Nixon
 4   clients. Nixon understood that: (1) Patrick Moore was a strawman; and (2) Carpoff was willing to
 5   manufacture facts to achieve a tax result.
 6          153.    In certain of its Transaction Opinions, Nixon states that: (1) it represents Solarmore
 7   Investments; (2) Carpoff has represented that Patrick Moore owns 21% of Solarmore Investments;
 8   and (3) Patrick Moore “is under no obligation to act as the agent of [Solutions] or otherwise act
 9   on behalf of [Solutions].” But Nixon knew that Patrick Moore was just a strawman.
10                  (ii)    Carl Jansen / Solarmore Management
11          154.    Carl Jansen was as an owner of Solarmore Management, which was the Managing
12   Member for certain Funds in a later series of transactions.
13          155.    Mr. Milder had interacted directly with Carl Jansen and knew that Carl Jansen was
14   or had been a Solutions’ executive who worked on, among other things, financial projections and
15   relationships with potential investors. Mr. Milder received communications and documents
16   reflecting that Carl Jansen was on the “DC Solar Team” and served as Solutions’ “Vice President
17   of Sales and Distributions.”
18          156.    Nonetheless, in Nixon’s Transaction Opinion dated June 20, 2014, delivered to the
19   investor and the Fund to induce them to invest, Nixon represented that: (1) Solarmore Management
20   is Nixon’s client; (2) Carl Jansen owns 21% of Solarmore Management; and (3):
21         Jeff Carpoff has represented to us that Carl Jansen is not related to …
           [Solutions] (either directly or through constructive ownership), has no interest in
22         the activities of … [Solutions] (other than indirectly through his interest in the
23         Managing Member), nor does he have any financial or other interest, nor is he
           under any obligation to act as the agent of [Solutions] or otherwise act on
24         behalf of [Solutions].
     (emphasis added).
25
26   Nixon knew this was false and misleading.

27          157.    In early December 2014 (six months later), Mr. Milder advised Carpoff to sell his

28   79% interest in Solarmore Management to Carl Jansen, making Carl Jansen the 100% owner.



                                                     25
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 26 of 92




 1          158.     On December 9, 2014, a Carpoff agent wrote to Mr. Milder:
 2         Thanks for the education yesterday about Solarmore [Management] and the At-
           Risk Rules. You need not give any more thought to the “S” corp versus “C” corp
 3         options. We are going to transfer Jeff[ Carpoff’s] 79% interest in Solarmore
 4         to Carl Jansen. Carl [Jansen] will be the 100% owner of Solarmore and
           Solarmore will hire Jeff [Carpoff] to perform any necessary services.
 5   (emphasis added).
 6          159.     Yet, Nixon issued its Transaction Opinion dated December 18, 2014 – nine days
 7   later – misrepresenting to the investor and the Fund that “[Carl Jansen] is completely unrelated
 8   to the other parties to the transaction.” (emphasis added). Nixon knew this was false.
 9          160.     On December 11, 2015, Mr. Milder wrote to Carpoff, with the subject line of
10   “address of the DC Solar entities:”
11         I notice that while the Fund has Carl Jansen as its “send to the attention of”, and the
12         “Company” has Jeff Carpoff as its person, they both have the same address! For
           much of the same reason that we changed the names of the people who sign for
13         each company, we might think about a second address for Carl [Jansen]. I
           think that would look significantly better.
14   (emphasis added).
15
                     (iii)   Peter Rosselli / Halo Management
16
            161.     Peter Rosselli served as the “owner” of Halo Management and was Carpoff’s
17
     strawman. Halo Management was the Managing Member for certain Funds in the third series of
18
     transactions.
19
            162.     Nixon issued a Transaction Opinion on December 28, 2016, and similar ones for
20
     certain transactions thereafter, where Nixon represented Solutions, Distribution, and Halo
21
     Management (as the Managing Member).
22
            163.     Nixon knew that Peter Roselli was Halo Management’s manager and 100% owner.
23
     Yet, Nixon never communicated directly with Peter Rosselli. Rather, Nixon communicated with
24
     Halo Management solely through Carpoff (directly or indirectly).
25
            164.     In the applicable Transaction Opinion(s), Nixon wrote (in sum or substance):
26
            The Managing Member is owned by Peter Rosselli, who is completely unrelated to
27
            the other parties to the transaction.
28                                                ***



                                                      26
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05          Page 27 of 92




 1          Jeff Carpoff has represented to us … that Peter Rosselli is not related to
            …[Solutions], nor is he under any obligation to act as the agent of [Solutions] or
 2          otherwise act on behalf of [Solutions].
 3
            165.    Nixon parroted Carpoff’s representations regarding Nixon’s own client, Halo
 4
     Management, never communicating directly with Peter Rosselli.
 5
            166.    Had Nixon communicated directly with Peter Roselli, Peter Rosselli would have
 6
     told the truth: he (1) had a business relationship with and financial obligations to Carpoff; and (2)
 7
     was a nominee owner of Halo Management serving as Carpoff’s strawman.
 8
            167.    Nixon knew or should have known that Carpoff’s representations were false and
 9
     misleading.
10
            168.    Nixon failed to adequately communicate with its client, Halo Management.
11
                e. Nixon Learns that Solutions is Alleged to have Made “Serious and
12                 Fraudulent Misrepresentations about its Leasing Operations”
13          169.    On March 10, 2014, Vik Mehrotra of VCM Ltd. Mauritius emailed Carpoff,
14   copying Mr. Milder:
15         We are very concerned about DC Solar’s total default on its obligations for
16         which the beneficiary has called in the Letters of Credit; and given what was
           represented to VCM, which was confirmed on the internet, DC Solar has made
17         serious and fraudulent misrepresentations concerning its leasing operations
           which has caused a financial hardship to VCM Ltd. as a result of the default fees,
18         interest and other expenses due from VCM Ltd. as there are no funds remaining in
19         the Letter of Credit accounts from which these fees can be paid.
     (emphasis added).
20
            170.    Concerned, Mr. Milder emailed Carpoff: “Seems that you might want to respond if
21
     this is untrue.” Carpoff did respond. But Mr. Milder was unsatisfied, and wrote:
22
            I saw Jeff [Carpoff]’s response. I was observing that it is a bit understated, saying
23
            “and not worthy of a response”. It seems to me that you might want to send a stern
24          response. [Mr. Mehrotra’s] letter has an awful lot of detail about the product, the
            offtakers, etc., that gives it an air of credibility that could be damaging to business.
25
            171.    Nixon neither investigated nor followed up on Vik Mehrotra’s assertion that “DC
26
     Solar has made serious and fraudulent misrepresentations concerning its leasing operations.”
27
28



                                                      27
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05       Page 28 of 92




 1              f. Carpoff’s Dispute with John Messer, and the Messer Litigation
 2          172.    Beginning in 2011, Nixon worked directly with John Messer as Solutions’ insider
 3   and representative. Nixon knew that John Messer was: (1) a 21% owner of Solutions; (2) a
 4   Solutions officer (Vice President); (3) on Solutions’ Board of Directors; (4) an attorney; and (5)
 5   involved in substantive Solutions-related matters.
 6          173.    Nixon learned that Carpoff and John Messer had gotten into a dispute. Nixon
 7   ordered a litigation report from a third-party provider.
 8          174.    On June 25, 2014, Nixon received the litigation report, which reflected that John
 9   Messer had brought two lawsuits against Carpoff: (1) in February 2013 (“Feb. 2013 Messer
10   Litigation”) and (2) in December 2013 (“Dec. 2013 Messer Litigation,” and with the Feb. 2013
11   Messer Litigation, the “Messer Litigation”).
12          175.    Nixon obtained the court docket for each of the Messer Litigation matters and the
13   complaint for the Dec. 2013 Messer Litigation.
14          176.    John Messer’s complaint commencing the Dec. 2013 Messer Litigation described
15   the Feb. 2013 Messer Litigation (in part) as follows:
16          On February 19, 2013, [JOHN MESSER] filed suit against Defendants DC SOLAR
17          [SOLUTIONS], JEFFREY CARPOFF, PAULETTE CARPOFF and ARI LAUER,
            Esq. in the Contra Costa County Superior Court, case number MSC13-00412,
18          which was assigned to the Honorable Steve K. Austin. The Complaint filed in said
            action was for:
19
20         (1)      Demand for Accounting; Inspection of Records;
           (2)      Misappropriation of Corporate Assets;
21         (3)      Damages (Breach of Fiduciary Duty);
           (4)      Conflict of Interest; Breach of Fiduciary Duty;
22
           (5)      Involuntary Dissolution of Corporation.
23   (emphasis in original).

24          177.    In the complaint commencing the Feb. 2013 Messer Litigation, John Messer:

25      x   Alleged that Carpoff had “misappropriated, mismanaged and misallocated [Solutions’]
            corporate funds, by utilizing the corporate accounts for their own direct personal expenses
26          and by making financial decisions which are not in the interests of [Solutions].”
27   And
28      x   Identified specific examples of Carpoff’s looting of Solutions’ funds, including:



                                                      28
     Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 29 of 92




 1              o Material disbursements to Carpoff family members, such as Carrie Carpoff
                  (sister) and Ken Carpoff (father); and
 2              o $235,000 to Patrick Moore (Carpoff’s strawman, and a former owner of Solutions
 3                and owner of Solarmore Investments, Nixon clients).

 4          178.    The docket for the Feb. 2013 Messer Litigation reflected that John Messer had
 5   moved for the appointment of a receiver for Solutions, supported by his publicly filed declaration
 6   dated May 13, 2013 (“Messer Declaration”).
 7          179.    John Messer swore in the Messer Declaration, among other things, that:
 8         There has been corporate misappropriation of funds, misuse of funds,
           misrepresentation by the Carpoffs to wit diversion for personal expenses,
 9         payments to Carpoffs for nonauthorized (non-documented) payments, transfers to
10         other entities controlled by the Carpoffs and various other transactions which have
           resulted in the facts hereinafter stated. The appointment of a Receiver is
11         necessary to prevent the further misappropriation of funds and other abuses
           of the majority shareholder to the detriment of my interests as a minority
12         shareholder.
13   (emphasis added).

14   John Messer also swore in the Messer Declaration that:
15      x   “Jeff Carpoff … continually takes cash out of the DC Solar company account at First
16          Republic [Bank] without documented reason or explanation.”

17      x   Carpoff wrote checks from Solutions to Patrick Moore: (1) $185,000 on April 11, 2011;
            (2) $4,300 on May 6, 2011; and (3) $30,000 on September 22, 2011.
18
19   John Messer also swore in the Messer Declaration that:

20         On December 30, 2011, a check was made payable to Efficient Energy
           Distributions, Inc. in the amount of $331,000.00. Efficient Energy is a company
21         of Patrick Moore, a friend of Jeff Carpoff. The Memo on the check says “Hayes
22         Insurance Deal.” Efficient Energy was not on the disbursement list from the
           closing [of this Solutions-sponsored transaction] and there is no reason for this
23         check other than misrepresentation and misappropriation by the Carpoffs for
           their own benefit and the benefit of their friends. It was not disclosed to me that
24
           Efficient Energy was in any way eligible for any payment under the Hayes deal.
25         Another seemingly inappropriate check to Efficient Energy Distributions, Inc. in
           the amount of $50,000 made on the DC Solar Account at [First Republic Bank]
26         dated December 28, 2012.
     (emphasis added).
27
28          180.    Nixon did not seek further information regarding the Messer Litigation.



                                                    29
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 30 of 92




 1      G. April 2016 to March 2017: Nixon Had Actual Knowledge that Carpoff was
           Committing Wrongdoing
 2
 3          181.    Throughout its engagement, Nixon understood that Solutions’ and Distribution’s

 4   business model was premised upon the marketing and sub-leasing of the MSGs to third party end

 5   users, giving rise to payments: (1) on the sub-lease, from the end user to Distribution; (2) on the

 6   lease, from Distribution to the Fund; and then (3) on the note, from the Fund to Solutions.

 7          182.    This money-flow was integral to Solutions’ and Distribution’s purported business

 8   model and served as the support for the $150,000 per MSG sale price and associated favorable tax

 9   benefit (driving the investor’s decision to invest).

10          183.    By no later than a series of events from April 2016 to March 2, 2017, Nixon gained

11   actual knowledge that Solutions and Distribution were failing to meaningfully sub-lease the MSGs

12   and that Distribution had limited end user revenue. Nixon learned that Distribution’s primary

13   source of revenues was Solutions, its affiliate. Thus, Nixon knew that Carpoff had caused Solutions

14   and Distribution to engage in a circular flow of monies that contradicted the business model.

15          184.    As a result, Nixon knew that Carpoff was misleading and lying to investors,

16   engaging in wrongdoing, failing to operate Solutions and Distribution in a proper and safe manner,

17   and harming Solutions and Distribution with each successive transaction. Yet, Nixon continued to

18   represent Solutions and Distribution just as it did before. The chronology, in part, is as follows.

19          185.    On April 7, 2016, the IRS sent a detailed draft report (“IRS April 2016 Report”)

20   explaining the IRS’s investigation into and conclusions about a Solutions-sponsored and Nixon-

21   counseled tax advantaged transaction that closed in December 2011. The IRS delivered its report

22   to Ron Roach, Carpoff’s outside accountant and co-conspirator in the Carpoff Ponzi Scheme.

23          186.    Within days, Ron Roach forwarded the IRS April 2016 Report to Mr. Milder, as

24   counsel to Solutions, the Managing Member, and the Fund.

25          187.    The IRS April 2016 Report reads in part as follows:

26          [The Fund] purchased [the MSGs] from [] Solutions on December 16, 2011. [The
            Fund] then leased the [MSGs] to [] Distribution for $190,400 per month
27          ($2,284,800 per year). In March of 2011, [] Distribution entered into a “Re-
            Rent” agreement with [] Solutions, where both parties agreed that []
28          Distribution would sub-lease to [] Solutions an unspecified amount of [MSGs].


                                                       30
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 31 of 92




 1           Based on the rent paid by [] Solutions to [] Distribution in 2011 and 2012 ($199K
             per month in 2011 and $331K per month in 2012), it appears that the following
 2           took place with respect to the [MSGs]:
 3
             (1)    It was sold by [] Solutions to Solar Eclipse on December 16, 2011,
 4           (2)    It was [] then leased to [] Distribution[] starting in December of 2011,
             (3)    It was sub-leased by [] Distribution back to [] Solutions in 2011 and 2012,
 5                  completely closing the circle.
 6
             Per the Re-Rent Agreement, [] Solutions would also re-rent the [MSGs] it
 7           leased from [] Distribution “to its own customers”. However, [] Solutions only
             claimed $11,152 of gross rental income on its 2011 return, and zero rental income
 8           on its 2012 return. [] Solutions reported all of its rental payments to []
 9           Distribution under Cost of Goods Sold.

10           In addition, Solarmore Investments received a loan in the amount of $961,500 from
             [] Solutions. This is significant since it likely helped finance Solarmore’s $111,000
11
             initial capital contribution into [the Fund]. This further demonstrates the
12           circular nature of the transaction.
                                                   ***
13           Courts view related party loans with scrutiny. Some of the factors subject to this
             scrutiny are the source of the repayments and identity of interest between the
14
             creditor and owner. Upon examination, the [IRS] determined that the loan was
15           a mere circular movement of money used to prop up a vastly overstated
             purchase price in order to impermissibly maximize the energy credit.
16
17         [The Fund] repays its loan with the rental income it receives from [] Distribution.
           [] Distribution pays its rental fees with the rental fees that it receives from []
18         Solutions, which was the original lender. [] Solutions is in effect paying rent to
           [the Fund] to cover the payments it is making on the note owned by [the Fund].
19         So [] Solutions is ultimately the source of the loan repayments on its own note.
20                                             ***
           Given that several months prior to the December [2011 MSG] asset sale, an
21         agreement had been reached between [] Distribution and [] Solutions for Solutions
           to re-rent the [MSG] equipment, it seems pretty clear that Mr. Carpoff knew
22         that he would not be able to find a substantial number of third party sub-
23         lessees to cover the rent that was being paid by Distribution to [the Fund]. This
           is compounded by the fact that the Re-Rent agreement stated that [] Solutions would
24         re-rent the equipment to “its own customers,” when Solutions only reported
           $11,552 of rent income in 2011 and zero in 2012.
25   (emphasis added).
26          188.    Nixon knew that the IRS’s description of the Re-Rent Agreement and the flow-of-
27   funds contradicted Solutions’ and Distribution’s business model as Carpoff and Nixon had been
28   representing it.


                                                      31
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 32 of 92




 1          189.    On May 7, 2016, Ron Roach sent the Re-Rent Agreement to Mr. Milder.
 2          190.    Nixon knew the Re-Rent Agreement was bogus. Not only had the IRS just
 3   explained this in the IRS April 2016 Report, but the Re-Rent Agreement provided for Solutions to
 4   rent the MSGs from Distribution and then “to [Solutions’] own customers.” Mr. Milder knew this
 5   (1) was contrary to Solutions’ and Distribution’s business model; and (2) made no sense - after all,
 6   Distribution could have leased those same MSGs to those same customers.
 7          191.    Mr. Milder focused on this item. Just weeks later, on June 1, 2016, Mr. Milder
 8   wrote to Carpoff with the subject-line: “IMPORTANT -- PLEASE READ”:
 9         The [IRS April 2016 R]eport … observes that [Distribution] has only a small
           amount of income from leasing the units. … [I]t leaves me wondering … why
10         the [IRS] agent thinks that DC Solar had so little income. I would think that
11         with the funds we have closed, there would be a LOT of cash flow, with
           Distribution both collecting a lot of rental income from [end users], and paying
12         a lot of rent to the funds. Similarly, [Solutions] should have a lot of income from
           the now several years of payments on the notes it holds from the sales of
13         hundreds/thousands of units. Ron [Roach] has told us he would assemble data to
14         show the successful business, but we haven’t seen anything. Where does this
           stand?
15   (emphasis added, caps original). Exhibit 5.
16          192.    Later that month, on June 30, 2016, Mr. Milder memorialized by email a
17   conversation with Carpoff:
18         Documenting Revenues. The Hays people really want to see documentation of the
           revenue streams received on their equipment. Jeff [Carpoff] and I have discussed
19         that the revenue stream is not very good …
20   (emphasis added).

21   “The Hays people” (“Hays”) refers to the financial investor in that Fund.
22          193.    From his direct discussions with Carpoff, Mr. Milder knew that Distribution was
23   failing to lease the MSGs in a manner consistent with the business model and not producing the
24   requisite third party revenues. Mr. Milder understood that revenues were coming from Solutions
25   (in a circular flow) rather than from end users.
26          194.    On June 30, 2016, Mr. Milder asked Carpoff for a document which explained what
27   “went wrong” in the relationship with the MSG end user, to share with Hays.
28



                                                        32
     Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 33 of 92




 1          195.    On June 30, 2016, Mr. Milder had a phone call with Hays, whereby Mr. Milder
 2   would “reach out to Ron [Roach] to follow-up on the lease/revenue streams...”
 3          196.    Nixon continued to follow-up, seeking information related to Distribution’s leasing
 4   operations, its performance / underperformance, the “not very good” revenue, what “went wrong,”
 5   and “why the [IRS] thinks that DC Solar had so little income.” As examples:
 6      x   On July 5 and 6, 2016, Hays followed up by email to Jeff Carpoff, Ron Roach, and Mr.
            Milder, seeking “the lease/revenue stream,” and noting that “it’s been an outstanding
 7          issue for at least a couple of months.”
 8
        x   On July 13, 2016, Ron Roach told Mr. Milder that he would provide the “status of
 9          detailed sublease reporting.”
10
        x   On July 18, 2016, Ron Roach sent Mr. Milder the Fund sub-lease activity for 2012 and
11          2013.
12      x   On July 30, 2016, Ron Roach sent Mr. Milder Distribution’s “Sales by Customer
13          Summary Report” for 2014 and 2015.

14      x   On August 1, 2016, Mr. Milder was sent a spreadsheet with the “re-rent” income per the
15          Re-Rent Agreement (monies sourced from Solutions into Distribution).

16          197.    On January 30, 2017, the IRS sent Mr. Milder the final IRS report (“IRS Jan. 2017
17   Report”), including communicating much of (in sum or substance) the information quoted above
18   from the IRS April 2016 Report, including stating as follows:
19         The fact that the equipment was re-rented back to DC Solar adds to the peculiar
           circumstances of this transaction and emphasizes the circularity of and
20         relatedness of the various parties in this transaction. The [IRS] thus believes that
21         while the lease itself validly conveys the property to the lessee, the lease payments
           themselves are overstated and ultimately part of a circular flow of funds that
22         begin and end with DC Solar Solutions. The circular flow of funds
           encompasses both the lease payments and the purported financing between
23         [the Fund] and DC Solar Solutions.
24   (emphasis added).

25          198.    Two weeks later, on February 15, 2017, Mr. Milder broadly asked: “What efforts
26   has DC Solar Distribution made to sublease the units since 2012?”
27          199.    Two days later, on February 17, 2017, Carpoff responded to Mr. Milder with a
28   discussion of “a number of near misses” and other failures without identifying any successes.



                                                     33
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 34 of 92




 1          200.    On February 22, 2017, Mr. Milder pressed further, asking Ron Roach for “the
 2   [percentage] of third party leases [when] compared to the master lease.” Ron Roach responded
 3   that he would provide the “sub-lease activity” in a few days.
 4          201.    On March 2, 2017, Ron Roach sent an email (“March 2, 2017 Email”) to Mr.
 5   Milder and Hays. A copy is attached as Exhibit 6.
 6          202.    The March 2, 2017 Email spelled out that only a small percentage of Distribution’s
 7   sublease revenue came from end users. And that the large majority came from Solutions via the
 8   re-rent payments (i.e., a circular flow of money beginning and ending with Solutions).
 9          203.    In the March 2, 2017 Email, Ron Roach told Mr. Milder that:
10      x   In 2013, re-rent revenue was $1.5 million while third party sublease revenue was
            $300,000.
11
12      x   In 2014, re-rent revenue was $14 million while third party sublease revenue was
            $321,000.
13
        x   In 2015, re-rent revenue was $30.5 million while third party sublease revenue was $1.4
14
            million.
15
        x   In 2016, re-rent revenue was $61.5 million while third party sublease revenue was $2
16          million.
17
            204.    Mr. Milder understood that from 2013 to 2016 Carpoff caused (in large part) a
18
     circular flow of money (Solutions-to-Distribution and classified as “re-rent” payments) not
19
     sourced from end users, violating DC Solar’s business model and contradicting Carpoff’s
20
     representations to investors and the Funds.
21
            205.    Mr. Milder saw that: (1) the circular flow of funds; (2) the inability to lease MSGs;
22
     and (3) Solutions serving as the source of the loan repayments on its own notes; all as previously
23
     identified by the IRS, had snowballed exponentially. And as a result, Solutions and Distribution
24
     were unable to comply with their business obligations and were spiraling deeper into debt with
25
     each transaction.
26
            206.    After demanding in his June 1, 2016 email (Exhibit 5) data showing a “successful
27
     business,” and then posing a series of follow-up questions, Mr. Milder finally received hard data
28
     showing the opposite. (Exhibit 6).


                                                     34
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 35 of 92




 1          207.    Mr. Milder knew that Distribution’s primary revenue source was its sister company,
 2   Solutions (both Nixon clients). Mr. Milder knew that Carpoff, with material control over all sides
 3   of the transaction, was effectuating a circular flow of money contradicting the business model.
 4          208.    On March 29, 2017, Mr. Milder, Ron Roach, and others convened a conference call
 5   and discussed: (1) the March 2, 2017 Email; (2) the IRS April 2016 Report and the IRS Jan. 2017
 6   Report; and (3) the Re-Rent Agreement.
 7          209.    Ron Roach expected that Nixon’s knowledge of the circular movement of monies,
 8   in detail and year-over-year, contradicting Carpoff’s representations to investors, would bring an
 9   end to the Carpoff Ponzi Scheme. Ron Roach thought it was “game over.”
10          210.    Ron Roach expected Nixon to withdraw and not represent Solutions or Distribution
11   in future transactions, effectively preventing DC Solar from closing any more transactions.
12          211.    Ron Roach was wrong. Nixon continued to represent Solutions and Distribution
13   without interruption, continued to lend Carpoff its name and credibility, and continued to assist in
14   further transactions. The Carpoff Ponzi Scheme continued.
15      H. Nixon Continues to Advise-on and Close Transactions, Misleading Investors and
           Causing Injury to Solutions and Distribution
16
17          212.    For a series of transactions that closed after March 2, 2017, Nixon – counsel to

18   Solutions and Distribution – joined with Carpoff to misrepresent to investors and Funds that

19   Distribution’s revenue was sourced from leasing MSGs to end users. By participating in these false

20   and misleading representations, Nixon harmed Solutions and Distribution.

21          213.    For example, in connection with a May 2017 $342 million transaction, Nixon

22   issued a Transaction Opinion to the investor and the Fund, writing (in part):

23         The [MSGs] will consist primarily of trailers, racking systems, solar panels, a
           battery backup system, the charge controller, and inverters. The [MSGs] will be
24         leased to [Distribution] which will then sub-lease [the MSGs] to other users.
     (emphasis added).
25
     Nixon knew this statement to be false. Nixon knew Distribution was unable to meaningfully lease
26
     the MSGs to “other users.” Nixon knew Distribution was largely sub-leasing the MSGs to
27
     Solutions per the bogus Re-Rent Agreement.
28



                                                     35
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 36 of 92




 1          214.    Nixon made substantively identical false statements in the Transaction Opinions,
 2   delivered to the investor and Fund, in connection with (among others): (1) May 2017 $198.9
 3   million transaction; (2) June 2017 $64.5 million transaction; (3) July 2017 $16.8 million
 4   transaction; (4) June 2018 $198.9 million transaction; and (5) July 2018 $342 million transaction.
 5      I. Nixon Further Assists, and Covers-up, Carpoff’s Wrongdoing
 6          215.    Nixon assisted Carpoff’s wrongdoing in other ways, such as concealing and
 7   covering up what it knew. Nixon also never corrected its prior statements, which it knew to be
 8   false and misleading.
 9          216.    On October 13, 2016, Mr. Milder had a phone call with Progressive (an investor)
10   and its counsel, Jerry Breed. They asked Mr. Milder “to confirm that there hasn’t been any
11   challenge by the IRS of the valuation of the units or the deal structure.”
12          217.    Of course, Mr. Milder knew that the IRS April 2016 Report asserted a “mere
13   circular movement of money used to prop up a vastly overstated purchase price in order to
14   impermissibly maximize the energy credit.” Thus, the IRS had challenged both the “valuation of
15   the units” and the “deal structure.”
16          218.    On October 19, 2016, six days later, Mr. Milder wrote to Carpoff:
17         About a half hour ago, I got a voice mail from Jerry Breed (representing
18         Progressive) on the audit issue again. He said that Progressive appreciates that
           the IRS has been known to challenge valuations of solar projects, but they want to
19         know if there are any valuation issues specifically for DC Solar projects. When
           I spoke with them last week, I did my best to make it sound like a generic
20         problem, but any dancing around the issue sounds like, well, dancing around
21         the issue, and I guess that they are still wondering.
                                                ***
22         [] Jerry [Breed’s]’s voice mail makes it sound like someone in the chain still isn’t
           through exploring this issue. I’ll have a conversation with him if you like, but
23         I think that you will do a better job of limiting what you disclose than we will.
24         So, I’m not going to call Jerry [Breed] back until and unless I get the go ahead from
           you.
25   (emphasis added).
26
     Nixon not only assisted, but counseled Carpoff how to effectively deceive Progressive.
27
28



                                                      36
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 37 of 92




 1          219.    In July 2017, a private equity firm (“PE Firm”) was considering an 8-figure
 2   transaction connected to Carpoff/DC Solar. Mr. Milder was informed that the PE Firm was “pretty
 3   spooked” by the pending IRS audit, placing the potential transaction “on life support.”
 4          220.    Help was requested from Nixon: “Hopefully Dr. Milder can bring the patient back.”
 5          221.    “Dr. Milder” got to work. On July 5, 2017, “Dr. Milder” ghostwrote an email to
 6   the PE Firm to allay some of the PE Firm’s concerns.
 7          222.    Nixon also knew that the PE Firm wanted to confirm that the MSGs to be acquired
 8   in the transaction would be leased to Distribution and then sub-leased to an end user. Although
 9   Mr. Milder knew that Carpoff had been lying about this exact item, Mr. Milder concealed the truth
10   from the PE Firm.
11          223.    The PE Firm entered the 8-figure transaction. Had “Dr. Milder” refused to advance
12   Carpoff’s lies, the PE Firm would not have entered this transaction, which caused damages to
13   Solutions and Distribution.
14      J. Nixon’s Actions and Inactions Caused Harm to Solutions and Distribution
15          224.    Nixon’s actions and inactions was a substantial factor in bringing about the harm
16   to Solutions and Distribution: their clients. Nixon’s actions and inactions substantially assisted
17   Carpoff in harming Solutions and Distribution.
18          225.    Nixon’s actions and inactions caused Solutions and Distribution to suffer harm with
19   every transaction. Nixon’s actions and inactions prolonged Solutions’ and Distribution’s corporate
20   life through increased liabilities, unsustainable obligations, and bad debt, and through the
21   dissipation of corporate assets. Nixon’s actions and inactions harmed the value of corporate
22   property. Nixon’s actions and inactions caused Solutions and Distribution to expend corporate
23   assets that would not have been spent had the entities not engaged in further transactions.
24          226.    The investors and the Funds relied on Nixon, their actions, and inactions. They
25   relied on Nixon’s seal of approval and role as gatekeeper, along with the credibility it provided.
26   The transactions (some if not all) would not have happened without Nixon serving in these roles.
27
28



                                                      37
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 38 of 92




 1           227.    The transactions (some if not all) would not have happened had Nixon complied
 2   with the Rules of Professional Conduct, including regarding: (1) conflict waivers; (2) diligence;
 3   (3) competence; and (4) communication.
 4           228.    Nixon failed to properly identify and stop Carpoff’s looting and misrepresentations.
 5   Nixon should have stopped assisting with new transactions and should have withdrawn from
 6   representing Solutions and Distributions. Instead, Nixon covered-up and assisted Carpoff in his
 7   wrongdoing. Nixon continued to represent Solutions and Distribution, and worked with Carpoff
 8   in connection with closing transactions, after it knew or should have known of Carpoff’s
 9   wrongdoing. And Nixon failed to follow-up on the Messer Litigation.
10           229.    Solutions’ and Distribution’s injury includes that arising from and reflected in: (1)
11   Carpoff’s looting of DC Solar; (2) Solutions and Distribution wrongly incurring liabilities and
12   other obligations; (3) the dissipation of Solutions’ and Distribution’s assets; and (4) the
13   aggravation of Solutions’ and Distribution’s insolvency and wrongful prolonging of their life.
14       K. Nixon’s Benefit and Motivation
15           230.    Nixon benefitted and profited, and was neither harmed nor prejudiced, from its
16   representation of Solutions and Distribution and its relationship with Carpoff and DC Solar.
17           231.    From 2010 to 2018, Nixon opened Carpoff-related matters under the “Solutions”
18   client-classification and was paid (at least) $2.9 Million in fees. Nixon attorneys staffing these
19   matters were among Nixon’s highest hourly-rate attorneys, charging at the highest-end of national
20   hourly rates at great profit to the law firm.
21           232.    In 2018 Nixon charged: (1) $980/hour for Mr. Milder; (2) $955/hour for James
22   Duffy; and (3) $935/hour for James Brady; for Carpoff-related legal services.
23           233.    Nixon sent its bills to California for payment.
24           234.    Nixon considers client origination in determining partner compensation. Although
25   Mr. Milder did not originate Nixon’s relationship with Carpoff, as the relationship grew, he was
26   rewarded with a large share of the origination credit for Carpoff-related matters.
27           235.    Nixon (through its fees and client-base) and Mr. Milder (through his increased
28   compensation) were financially motivated to ignore and commit wrongdoing. They were also



                                                      38
      Case 21-05072-gs         Doc 1     Entered 10/25/21 13:44:05          Page 39 of 92




 1   motivated to protect their reputations and relationships and avoid liability for the structure and
 2   transactions they led and engineered. To withdraw or change their approach would cast a spotlight
 3   on past transactions and their past conduct.
 4           236.    Nixon was also motivated and enticed to ignore and commit wrongdoing due to its
 5   close and special relationship with and allegiance to Carpoff.
 6           237.    Mr. Milder’s hubris also contributed to Nixon’s misconduct, including ignoring and
 7   committing wrongdoing.
 8       L. Additional Points
 9           238.    Nixon accepted payment from persons or entities other than Solutions or
10   Distribution as payment for services Nixon performed for representing Solutions and Distribution
11   without proper accommodation for same.
12           239.    In connection with Nixon’s representation of Solutions related to IRS audit matters,
13   Nixon failed to adequately accommodate for the fact that Nixon had a legal or professional interest
14   in the subject matter of the representation, i.e., defending the propriety of the transactional structure
15   that Nixon created and implemented.
16           240.    In the course of perpetrating his scheme, Carpoff committed tax fraud based on the
17   federal tax benefits he caused investors to receive, knowing the transactions did not support those
18   benefits. By no later than March 2017, Mr. Milder equally knew and knowingly participated in
19   those fraudulent transactions.
20           241.    Neither Carpoff nor any other DC Solar wrongdoing former insider will receive a
21   recovery or benefit from this litigation or a distribution in the bankruptcy case.
22           242.    At all material times, Carpoff and other DC Solar wrongdoing former insiders were
23   acting: (1) adversely to DC Solar; (2) out of self-interest; and/or (3) primarily seeking to benefit
24   persons or entities other than DC Solar through their actions.
25           243.    Had Nixon properly advised and counseled its clients, Solutions and Distribution,
26   and acted in accordance with its fiduciary, professional, and other obligations, Solutions and
27   Distribution would not have suffered damages or the extent of damages they suffered.
28



                                                        39
      Case 21-05072-gs         Doc 1    Entered 10/25/21 13:44:05       Page 40 of 92




 1           244.    Had Nixon complied with the applicable Rules of Professional Conduct, Solutions
 2   and Distribution would not have suffered damages or the extent of damages they suffered.
 3           245.    Had Nixon advised the DC Solar insider non-wrongdoers or the investors of
 4   Carpoff’s wrongdoing, each would have: (1) blown the whistle; (2) stopped Carpoff’s wrongdoing
 5   from continuing; (3) stopped any further transactions; and (4) stopped the harm upon DC Solar.
 6           246.    Nixon was in a unique position, including as a gatekeeper, to protect Solutions and
 7   Distribution, its clients, from the injuries they suffered.
 8           247.    Nixon enabled—and played an integral and causal role—in Carpoff’s wrongdoing
 9   after Nixon knew or should have known of that wrongdoing, including by failing to stop and
10   instead helping Carpoff’s wrongdoing.
11           248.    Nixon enabled—and played a causal role—in Carpoff’s wrongdoing by violating
12   the applicable Rules of Professional Conduct and by breaching its duty of undivided loyalty and
13   other duties to Solutions and Distribution, including by not properly obtaining written conflict
14   waivers and informed consent from the appropriate parties.
15           249.    Solutions and Distribution suffered damages from Carpoff’s wrongdoing well into
16   2017 and 2018, including through: (1) Carpoff’s continued looting; and (2) increased corporate
17   liabilities and unsustainable obligations.
18           250.    Nixon’s wrongful conduct reflects oppression, fraud, and malice towards Solutions
19   and Distribution. It extended over a long period of time. Despite many opportunities, and its
20   growing knowledge (including from the IRS), Nixon failed to revise and instead continued its
21   wrongful conduct. Nixon’s wrongful conduct was, at times, due to its extreme recklessness and
22   intentional acts. Nixon should be punished and deterred from future wrongdoing.
23                                         CLAIMS FOR RELIEF
24                                           COUNT I
                                   (PROFESSIONAL MALPRACTICE)
25
26           251.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.

27           252.    Solutions and Distribution had an attorney-client relationship with Nixon, which

28   began in October 2010. Nixon was retained on a general representation, and the scope of the



                                                       40
     Case 21-05072-gs          Doc 1   Entered 10/25/21 13:44:05        Page 41 of 92




 1   retention was very broad. Nixon continuously maintained this attorney-client relationship through
 2   at least December 2018.
 3           253.   Nixon’s duties included:
 4       x   A duty of care, including to exercise the knowledge, skill, and ability ordinarily
             exercised by other similarly situated lawyers.
 5
 6       x   As a specialist in sophisticated business transactions, and because it held itself out as
             such a specialist, Nixon owed a special duty to act with the knowledge, skill, and ability
 7           ordinarily exercised by other specialists.
 8
         x   To protect Solutions and Distribution in every possible way, including from insider
 9           misconduct or looting.
10       x   To protect Solutions and Distribution from the liability which could flow from
11           promulgating a false or misleading offering or marketing communication or transaction
             opinion to investors or potential investors.
12
         x   To appropriately guide, counsel, advise, disclose information, and take all other
13
             appropriate items to and for the benefit of Solutions and Distribution in connection with
14           the entire spectrum of the Solutions-sponsored tax-advantaged investments, including
             corporate, tax and securities matters, and to protect it against liability.
15
         x   Ensure that its representations and assumptions in the Transaction Opinions were
16
             reasonable, and to reject any representation or assumption that was unreasonable or
17           conflicted with actual facts (or where appropriate, obtain clarification or supporting
             information).
18
19       x   To alert Solutions and Distribution to problems and potential problems reasonably or
             readily apparent.
20
         x   To consider and advise Solutions and Distribution of any matters they overlooked and/or
21           should have pursued or investigated to avoid prejudicing their interests.
22
             254.   Nixon owed further and expanded duties to Solutions and Distribution because
23
     Nixon: (1) had knowledge of facts that Carpoff was utilizing Nixon’s services in furtherance of
24
     wrongdoing; (2) was the gatekeeper and reputational intermediary for Solutions and Distribution,
25
     providing them with the Nixon “seal of approval” and vouching for them in the investor
26
     marketplace; (3) worked on securities and offering transactions for Solutions and Distribution; (4)
27
28



                                                     41
     Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 42 of 92




 1   marketed and participated in the marketing and offering of Solutions’ investment opportunity; (5)
 2   had a close and special relationship with Carpoff; and (6) issued the Transaction Opinions.
 3          255.    Nixon’s duties included the duty to investigate, warn, protect, and avoid assisting
 4   in wrongdoing, all owing to Solutions and Distribution.
 5          256.    Nixon knew or should have known, and then actually knew, that Carpoff was
 6   engaged in wrongdoing, including harming Solutions and Distribution with each transaction,
 7   incurring unsustainable obligations and liabilities and burdens flowing from false representations
 8   seeking investments, and which they could otherwise not pay or meet.
 9          257.    Nixon breached its duties to Solutions and Distribution by, among other things:
10      x   Failing to investigate or follow up on the Red Flags.
11
        x   Permitting and enabling Carpoff and the other wrongdoing former insiders to
12          misrepresent Solutions’ and Distribution’s financial status and the accurate role(s) and
            relationship(s) of multiple players in the transactions.
13
        x   Permitting and enabling Solutions and Distribution to use Nixon (name and logo and Mr.
14
            Milder) as a “seal of approval,” and otherwise vouching for Solutions and Distribution, in
15          the marketplace.
16      x   Failing to protect Solutions and Distribution from Carpoff’s wrongdoing.
17
        x   Failing to prevent Carpoff and other wrongdoing insiders from operating Solutions and
18          Distribution in a way that violated their own business model, offering and marketing
19          materials, documents, and otherwise representations to investors, and in a way that
            violated tax law (either by them or other entities in connection with the transactions).
20
        x   Failing to inform and disclose to DC Solar’s insider non-wrongdoers Carpoff’s
21
            misconduct and deceit.
22
        x   Failing to make a reasonable, independent investigation to detect, correct and prevent
23          false or misleading offering and marketing materials.
24
        x   Failing to ensure that its representations and assumptions in the Transaction Opinions were
25          reasonable, and to reject any representation or assumption that was unreasonable or
            conflicted with actual facts (or where appropriate, obtain clarification or supporting
26
            information).
27
28



                                                    42
     Case 21-05072-gs          Doc 1   Entered 10/25/21 13:44:05       Page 43 of 92




 1      x   Disseminating or participating in disseminating Transaction Opinions and other
            marketing or offering materials that it knew or should have known to be false and
 2          misleading.
 3
        x   Failing to make an appropriate and reasonable effort to independently verify the facts set
 4          forth in the Transaction Opinions, and upon which Nixon’s opinion was based.
 5
        x   Working on and closing transactions where it knew or should have known investors
 6          would be misled and relying on false information.

 7          258.    Nixon’s negligent acts were below the standard of care for comparable attorneys
 8   who practice in the community, especially attorneys, like Nixon, who are specialists.
 9          259.    Nixon’s breach of duties was a substantial factor in causing damages to Solutions
10   and Distribution. Nixon’s breach of duties was the proximate cause of the damages sought in this
11   action. There was a proximate causal connection between the breach and the resulting injury.
12          260.    Solutions’ and Distribution’s damages include being encumbered with obligations
13   and liabilities, the misuse of company assets, the looting of company assets, and aggravating
14   company insolvency and wrongfully prolonging its life.
15          261.    Had Nixon not breached its duties, Solutions and Distribution would not have
16   suffered these damages or the extent of these damages.
17          262.    Nixon and Mr. Milder were financially and otherwise motivated to assist, conceal,
18   and ignore wrongdoing and commit wrongdoing.
19                                          COUNT II
20                                 (BREACH OF FIDUCIARY DUTY)

21          263.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.
22          264.    Solutions and Distribution had an attorney-client relationship with Nixon, which
23   began in October 2010. Nixon was retained on a general representation, and the scope of the
24   retention was very broad. Nixon continuously maintained this attorney-client relationship through
25   at least December 2018.
26          265.    Nixon owed fiduciary duties to Solutions and Distribution. Nixon was duty bound
27   to act with the utmost good faith for the undivided benefit of and with undivided loyalty to
28   Solutions and Distribution.



                                                     43
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05         Page 44 of 92




 1           266.   Nixon’s duties included:
 2       x   To protect Solutions and Distribution in every possible way.
 3
         x   To act with undivided loyalty and good faith to and for Solutions and Distribution, and to
 4           not act or participate in acts against their interests.

 5       x   To avoid conflicts in its representations of Solutions and Distribution.
 6
         x   To comply with all applicable rules of professional conduct, including those related to
 7           conflict of interest.
 8       x   To provide full disclosure to Solutions and Distribution.
 9
         x   To protect Solutions and Distribution from the liability which could flow from
10           promulgating a false or misleading offering or otherwise marketing communication or
11           transaction opinion to potential investors.

12       x   To ensure that its representations and assumptions in the Transaction Opinions were
             reasonable, and to reject any representation or assumption that was unreasonable or
13
             conflicted with actual facts (or where appropriate, obtain clarification or supporting
14           information).
15       x   To appropriately guide, counsel, advise, disclose information, and take all other
16           appropriate items to and for the benefit of Solutions and Distribution in connection with
             the entire spectrum of the Solutions-sponsored tax-advantaged investments, including
17           corporate, tax and securities matters, and to protect it against liability.
18
         x   To alert Solutions and Distribution to problems reasonably or readily apparent.
19
         x   To consider and advise Solutions and Distribution of matters each may have overlooked
20           and/or should have pursued to avoid prejudicing their interests.
21
             267.   Nixon owed further and expanded duties to Solutions and Distribution because
22
     Nixon: (1) had knowledge of facts that Carpoff was utilizing Nixon’s services in furtherance of
23
     wrongdoing; (2) was the gatekeeper and reputational intermediary for Solutions and Distribution,
24
     providing them with the Nixon “seal of approval” and vouching for them in the investor
25
     marketplace; (3) worked on securities and offering transactions for Solutions and Distribution; (4)
26
     marketed and participated in the marketing and offering of Solutions’ investment opportunity; (5)
27
     had a close and special relationship with Carpoff; and (6) issued the Transaction Opinions.
28



                                                     44
     Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05        Page 45 of 92




 1          268.    Nixon’s duties included the duty to investigate, warn, protect, avoid conflicts, and
 2   avoid assisting in wrongdoing, all owing to Solutions and Distribution.
 3          269.    Nixon knew or should have known, and then by no later than March 2017 knew,
 4   that Carpoff was engaged in wrongdoing, including harming Solutions and Distribution with each
 5   transaction, incurring unsustainable obligations and liabilities and burdens flowing from false
 6   representations seeking investments, and which they could otherwise not pay or meet.
 7          270.    Nixon breached its duties to Solutions and Distribution by, among other things:
 8      x   Failing to investigate or follow up on the Red Flags.
 9
        x   Looking out for Carpoff’s interests, as opposed to Solutions and Distribution.
10
        x   Failing to comply with the applicable Rules of Professional Conduct, including regarding
11          conflicts of interest.
12
        x   Permitting and enabling Carpoff and the other wrongdoing former DC Solar insiders to
13          misrepresent Solutions’ and Distribution’s financial status and the role and relationship of
            multiple players in the transactions.
14
15      x   Wrongly providing Solutions and Distribution with, and permitting and enabling
            Solutions and Distribution to use, the Nixon “seal of approval,” and otherwise
16          participating in Solutions’ marketing efforts.
17
        x   Failing to protect Solutions and Distribution from Carpoff’s wrongdoing.
18
        x   Failing to prevent, and enabling, Carpoff and the other wrongdoing insiders from
19          operating Solutions and Distribution in a way that violated their own documents, offering
20          materials and otherwise representations to the Funds and investors, and in a way that
            violated tax law (either by them or other entities in connection with the transactions).
21
        x   Failing to stop Carpoff’s looting of and otherwise harming Solutions and Distribution.
22
23      x   Failing to inform and disclose to DC Solar’s insider non-wrongdoers Carpoff’s
            misconduct and deceit.
24
25      x   Failing to make a reasonable, independent investigation to detect, correct and prevent
            false or misleading offering and marketing materials.
26
27      x   Failing to ensure that its representations and assumptions in the Transaction Opinions were
            reasonable, and to reject any representation or assumption that was unreasonable or
28



                                                     45
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 46 of 92




 1          conflicted with actual facts (or where appropriate, obtain clarification or supporting
            information).
 2
 3      x   Issuing Transaction Opinions it knew or should have known to be false and misleading,
            and working on and closing transactions where it knew or should have known investors
 4          would be misled and relying on false information.
 5          271.    Nixon violated applicable Rules of Professional Conduct. For example, Nixon
 6   never obtained informed consent and a written conflict waiver from Solutions and Distribution.
 7   And Nixon wrongly looked out for Carpoff’s personal interests, and those of its other clients, and
 8   itself, thereby failing to provide undivided loyalty to Solutions and Distribution.
 9          272.    Nixon’s breach of duties was a substantial factor in causing damages to Solutions
10
     and Distribution. Nixon’s breach of duties was the proximate cause of the damages sought in this
11
     action. There was a proximate causal connection between the breach and the resulting injury.
12
            273.    Solutions’ and Distribution’s damages include being encumbered with obligations
13
     and liabilities, and misuse of company assets, the looting of company assets, and aggravating
14
     company insolvency and wrongfully prolonging its life.
15
            274.    Had Nixon not breached its duties, Solutions and Distribution would not have
16
     suffered these damages or the extent of these damages.
17
            275.    Nixon and Mr. Milder were financially and otherwise motivated to assist, conceal,
18
     and ignore wrongdoing and commit wrongdoing.
19
                                      COUNT III
20                 (AIDING AND ABETTING BREACH OF FIDUCIARY DUTY)

21          276.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.
22          277.    Carpoff owed fiduciary duties to Solutions and Distribution, as an owner, officer,
23   board member and/or person with a material level of control. Nixon knew that Carpoff served in
24   these roles and owed fiduciary duties to Solutions and Distribution.
25          278.    Solutions and Distribution had an attorney-client relationship with Nixon, which
26   began in October 2010. Nixon was retained on a general representation, and the scope of the
27   retention was extraordinarily broad. Nixon continuously maintained this attorney-client
28   relationship through at least December 2018.



                                                      46
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05        Page 47 of 92




 1            279.   Nixon also had a close and special relationship with Carpoff.
 2            280.   Carpoff breached his duties to Solutions and Distribution by (among other things):
 3   (1) looting Solutions; (2) causing Solutions and Distribution to enter transactions and take on
 4   financial and operational burdens which were not in their best interests; and (3) exposing Solutions
 5   and Distribution to liabilities flowing from disseminating a false or misleading offering or
 6   otherwise marketing communication or representation to potential and actual investors.
 7            281.   Nixon had actual knowledge of these breaches of duties by no later than March
 8   2017, due to among other things: (1) its knowledge of how the business model was supposed to
 9   work; (2) its failure to comply with the Rules of Professional Conduct, including regarding
10   conflicts; (3) the Red Flags, including in connection with: (i) the Managing Members and their
11   insiders; (ii) the Messer Litigation; (iii) Mr. Mehrotra’s allegations; and (iv) the orchestrating of
12   the MSG sale-price; and (4) the series of events from April 2016 to March 2017, including in
13   connection with the (i) IRS April 2016 Report; (ii) Re-Rent Agreement; and (iii) March 2, 2017
14   Email.
15            282.   Nixon substantially assisted and encouraged Carpoff’s breach of duty to Solutions
16   and Distribution by, among other things: (1) continuing to represent Solutions and Distribution,
17   and the other Carpoff-affiliates, while conflicted and without proper accommodation for same; (2)
18   serving as the gatekeeper for Solutions into the investor-marketplace; (3) working towards and
19   closing further transactions, whereby Solutions and Distribution would be wrongly burdened by
20   obligations and liabilities; (4) issuing its Transaction Opinions; (5) staying silent and assisting in
21   concealment, including by not correcting prior misrepresentations and with regard to
22   Progressive/Jerry Breed; (6) violating the Rules of Professional Conduct; (7) working to salvage
23   the PE Firm-transaction; and (8) concealing information from and misleading investors.
24            283.   Through this conduct, Nixon breached its independent duties to its clients,
25   Solutions and Distribution.
26            284.   Nixon intentionally participated in Carpoff’s breach of fiduciary duty with
27   knowledge of the object to be attained.
28



                                                      47
      Case 21-05072-gs        Doc 1    Entered 10/25/21 13:44:05         Page 48 of 92




 1          285.    Nixon knew it had conflicts of interest and chose to ignore them (violating its
 2   fiduciary duties) and rendered advice and assistance (actions and inactions) that knowingly aided
 3   and abetted Carpoff’s wrongdoing and their harm upon DC Solar.
 4          286.    Nixon’s conduct was a substantial factor in causing harm to Solutions and
 5   Distribution. Without Nixon’s substantial assistance, transactions would not have closed and the
 6   harm would not occurred.
 7          287.    The harm includes that arising from and reflected in: (1) Carpoff’s looting of DC
 8   Solar, particularly Solutions; (2) Solutions and Distribution wrongly incurring liabilities and other
 9   obligations; (3) the dissipation of Solutions’ and Distribution’s assets; and (4) aggravating
10   Solutions’ and Distribution’s insolvency and fraudulently prolonging its life.
11          288.    Nixon and Mr. Milder were financially and otherwise motivated to assist, conceal,
12   and ignore Carpoff’s breach of his fiduciary duties.
13                                      COUNT IV
                       (BREACH OF FIDUCIARY DUTY BY CARPOFF AND
14                        NIXON IS LIABLE AS A CO-CONSPIRATOR)
15
            289.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.
16
            290.    Carpoff owed fiduciary duties to Solutions and Distribution, as he was an owner,
17
     officer, board member and had a material level of control. Nixon knew that Carpoff served in these
18
     roles and owed fiduciary duties to Solutions and Distribution.
19
            291.    Carpoff breached his fiduciary duties to DC Solar and Nixon is responsible for the
20
     harm because Nixon was a co-conspirator.
21
            292.    Nixon owed fiduciary duties, including undivided loyalty and good faith, to
22
     Solutions and Distribution, due to their attorney-client relationship. Nixon assumed expanded
23
     duties because of its knowledge and scope of its work.
24
            293.    Nixon had a close and special relationship with Carpoff.
25
            294.    Nixon’s duties included the duty to investigate, warn, protect, avoid conflicts, and
26
     the avoid assisting in wrongdoing, all owing to Solutions and Distribution.
27
28



                                                      48
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05         Page 49 of 92




 1            295.   Nixon knew it had conflicts of interest and chose to ignore those conflicts (violating
 2   its fiduciary duties) and rendering advice and assistance (action and inaction) that knowingly
 3   assisted the Carpoff’s wrongdoing and their harm upon DC Solar.
 4            296.   Nixon acquired actual knowledge of Carpoff’s unlawful objective by no later than
 5   March 2017 from (among other things): (1) its knowledge of how the business model was supposed
 6   to work; (2) its failure to comply with the Rules of Professional Conduct, including regarding
 7   conflicts; (3) the Red Flags, including in connection with: (i) the Managing Members and their
 8   insiders; (ii) the Messer Litigation; (iii) Mr. Mehrotra’s allegations; and (iv) the orchestrating of
 9   the MSG sale-price; and (4) the series of events from April 2016 to March 2017, including in
10   connection with the (i) IRS April 2016 Report; (ii) Re-Rent Agreement; and (iii) March 2, 2017
11   Email.
12            297.   Nixon knew that the bulk of Distribution’s revenues came in a circular manner from
13   Solutions rather than third party end users in contradiction to the stated business model. As a result,
14   Nixon understood Carpoff was placing unsustainable obligations on Solutions and Distribution
15   and these clients were being harmed by every successive transaction.
16            298.   Nixon intended to conspire with Carpoff to join a common plan or design.
17            299.   Nixon tacitly if not explicitly conspired with Carpoff to join a common plan or
18 design as of no later than March 2, 2017.
19            300.   Nixon and Mr. Milder were financially and otherwise motivated to assist, conceal,
20   and ignore Carpoff’s breach of his fiduciary duties.
21            301.   Nixon knowingly participated in the Carpoffs’ breach of their fiduciary duty in
22   multiple ways, including by: (1) continuing to represent Solutions and Distribution, and the other
23   Carpoff-affiliates, while conflicted and without proper accommodation for same; (2) serving as
24   the gatekeeper for Solutions into the investor-marketplace; (3) working towards and closing further
25   transactions, whereby Solutions and Distribution would be wrongly burdened by obligations and
26   liabilities; (4) issuing its Transaction Opinions; (5) staying silent and assisting in concealment,
27   including by not correcting prior misrepresentation and with regard to Progressive/Jerry Breed; (6)
28



                                                       49
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05         Page 50 of 92




 1   violating the Rules of Professional Conduct; (7) working to salvage the PE Firm-transaction; and
 2   (8) concealing information from investors (such as Progressive).
 3          302.    Nixon never withdrew from the conspiracy.
 4          303.    The harm includes that arising from and reflected in: (1) Carpoff’s looting of DC
 5   Solar, particularly Solutions; (2) Solutions and Distribution incurring liabilities and other
 6   obligations; (3) the dissipation of Solutions’ and Distribution’s assets; and (4) aggravating
 7   Solutions’ and Distribution’s insolvency and fraudulently prolonging its life.
 8          304.    Nixon is vicariously, and jointly and severally, liable for all acts committed by the
 9   Carpoffs in furtherance of the conspiracy, including the harm upon Solutions and Distribution.
10          305.    An essential part of Carpoff’s wrongdoing was that non-conspirators not know that
11   he was a liar and a crook and making misrepresentations to investors. Nixon joined in this corrupt
12   purpose by knowingly concealing and assisting in Carpoff’s misrepresentations. Nixon knew about
13   this unlawful objective and agreed and intended to aid in its commission.
14                                            COUNT V
                          (CONSTRUCTIVE FRAUUDLENT TRANSFER)
15               11 U.S.C. § 544 and California Civil Code §§ 3439.04(a)(2) or 3439.05
16                             and 3439.07 or other applicable state law

17          306.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.
18          307.    Solutions made the transfers identified on Exhibit 7 (“Transfers”).
19          308.    Solutions did not receive reasonably equivalent value in exchange for the Transfers
20   and was insolvent at the time of each of the Transfers.
21          309.    Solutions was insolvent at the time of each of the Transfers.
22          310.    The Transfers were for payment of legal fees, which were not earned.
23          311.    Nixon ignored wrongdoing and committed wrongdoing, was disloyal, and breached
24   its duties to Solutions and Distribution, including fiduciary, of care, of undivided loyalty, to act in
25   good faith, and to avoid conflicts. Nixon failed to protect Solutions and Distribution in every
26   possible way, failed to comply with the Rules of Professional Conduct, and knowingly and
27   intentionally harmed Solutions and Distribution. Nixon joined and assisted Carpoff in harming
28   Solutions and Distribution.



                                                       50
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05         Page 51 of 92




 1          312.    Carpoff perpetrated the Carpoff Ponzi Scheme through DC Solar and other entities.
 2   At the time of each of the Transfers, because of the Carpoff Ponzi Scheme and the claims of and
 3   obligations to the buyers of MSGs, Solutions: (1) was engaged (and was continuing to engage) in
 4   a business or transaction for which Solutions’ remaining property was unreasonably small; and (2)
 5   intended to incur or believed that it would incur debts beyond its ability to pay.
 6                                        COUNT VI
                            (CONSTRUCTIVE FRAUDULENT TRANSFER)
 7                                  11 U.S.C. §§ 548(a)(1)(B)
 8
            313.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.
 9
            314.    Solutions made certain of the Transfers within two years of the Petition Date (“2
10
     Year Transfers”).
11
            315.    Solutions did not receive reasonably equivalent value in exchange for the Transfers
12
     and was insolvent at the time of each of the Transfers.
13
            316.    Solutions was insolvent at the time of each of the Transfers.
14
            317.    These Transfers were for the payment of legal fees, which were not earned.
15
            318.    Nixon ignored wrongdoing and committed wrongdoing, was disloyal, and breached
16
     its duties to Solutions and Distribution, including fiduciary, of care, of undivided loyalty, to act in
17
     good faith, and to avoid conflicts. Nixon failed to protect Solutions and Distribution in every
18
     possible way, failed to comply with the Rules of Professional Conduct, and knowingly and
19
     intentionally harmed Solutions and Distribution. Nixon joined and assisted Carpoff in harming
20
     Solutions and Distribution.
21
            319.    Carpoff perpetrated the Carpoff Ponzi Scheme through DC Solar and other entities.
22
     At the time of each of the Transfers, because of the Carpoff Ponzi Scheme and the claims of and
23
     obligations to the buyers of MSGs, Solutions: (1) was engaged (and was continuing to engage) in
24
     a business or transaction for which Solutions’ remaining property was unreasonably small; and (2)
25
     intended to incur or believed that it would incur debts beyond its ability to pay.
26
                                                 COUNT VII
27                                             (11 U.S.C. § 550)
28          320.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.


                                                       51
      Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05         Page 52 of 92




 1          321.    The Trustee is entitled to avoid the Transfers pursuant to 11 U.S.C. §§ 544 and 548.
 2   See Counts V and VI above.
 3          322.    The Defendant is the initial transferee of the Transfers. Therefore, once avoided,
 4   the Trustee may recover the Transfers from the Defendant.
 5
                                            COUNT VIII
 6                                   (DISALLOWANCE OF CLAIM)
 7
            323.    The Trustee re-alleges paragraphs 1 through 250 as if fully stated herein.
 8
            324.    Nixon filed proof of claim number 34-1 in Solutions’ bankruptcy case, asserting a
 9
     claim in the amount of $111,223.95 (“Nixon POC”) for Nixon’s “legal services.”
10
            325.    The bankruptcy estates have been substantively consolidated.
11
            326.    The Nixon POC should be disallowed. Solutions did not receive value in exchange
12
     for Nixon’s “legal services.”
13
            327.    Nixon ignored wrongdoing and committed wrongdoing, was disloyal, and breached
14
     its duties to Solutions and Distribution, including fiduciary, of care, of undivided loyalty, to act in
15
     good faith, and to avoid conflicts. Nixon failed to protect Solutions and Distribution in every
16
     possible way, failed to comply with the Rules of Professional Conduct, and knowingly and
17
     intentionally harmed Solutions and Distribution. Nixon joined and assisted Carpoff in harming
18
     Solutions and Distribution.
19
            328.    The Nixon POC should also be disallowed under 11 U.S.C. § 502(d), due to
20
     Nixon’s liability pursuant to Counts V-VII above.
21
            WHEREFORE, the Trustee prays for and demands order and judgment against the
22
     Defendant as follows:
23
        (1) Count I:         Actual, compensatory, and consequential damages in an amount to be
24
            proven at trial; punitive damages; and other damages as permitted by law.
25
        (2) Count II:        Actual, compensatory, and consequential damages in an amount to be
26
            proven at trial; punitive damages; and other damages as permitted by law.
27
        (3) Count III:       Actual, compensatory, and consequential damages in an amount to be
28
            proven at trial; punitive damages; and other damages as permitted by law.


                                                       52
     Case 21-05072-gs        Doc 1     Entered 10/25/21 13:44:05       Page 53 of 92




 1      (4) Count IV:      Actual, compensatory, and consequential damages in an amount to be
 2          proven at trial; punitive damages; and other damages as permitted by law.
 3      (5) Count V.       Avoiding the Transfers under 11 U.S.C. §544 and California Civil Code
 4          §§ 3439.04 and 3439.07, and any other relief the circumstances may require under the
 5          latter, or under other applicable state law.
 6      (6) Count VI:      Avoiding the 2 Year Transfers under 11 U.S.C. §548(a)(1)(A).
 7      (7) Count VII:     A judgment in the amount of the Transfers and the 2 Year Transfers.
 8      (8) Count VIII:    An order disallowing the Nixon POC.
 9          In addition, and to the extent entitled under applicable law, the Trustee prays and demands
10   that the following is added to the judgment amount: interest both before and after the
11   commencement of this Action.
12          In addition, the Trustee requests from the Court any such other and further relief that this
13   Court deems just and proper.
14          DATED: October 25, 2021.               MELAND BUDWICK, P.A.
                                                   /s/ Michael S. Budwick
15                                                 Michael S. Budwick, Esq.
16                                                 Solomon B. Genet, Esq.
                                                   Gil Ben-Ezra, Esq.
17                                                 Attorneys for Christina W. Lovato, Trustee
18                                                 HARTMAN & HARTMAN
19                                                 /s/ Jeffrey L. Hartman
                                                   Jeffrey L. Hartman, Esq.
20                                                 Attorneys for Christina W. Lovato, Trustee
21
22
23
24
25
26
27
28



                                                      53
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 54 of 92




                                                             EXHIBIT 1
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 55 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 56 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 57 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 58 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 59 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 60 of 92




                                           COMPOSITE EXHIBIT 2
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 61 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 62 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 63 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 64 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 65 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 66 of 92




                                                             EXHIBIT 3
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 67 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 68 of 92




                                                             EXHIBIT 4
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 69 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 70 of 92




                                                             EXHIBIT 5
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 71 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 72 of 92




                                                             EXHIBIT 6
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 73 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 74 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 75 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 76 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 77 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 78 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 79 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 80 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 81 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 82 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 83 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 84 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 85 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 86 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 87 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 88 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 89 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 90 of 92
Case 21-05072-gs   Doc 1   Entered 10/25/21 13:44:05   Page 91 of 92




                                                             EXHIBIT 6
                   Case 21-05072-gs   Doc 1    Entered 10/25/21 13:44:05         Page 92 of 92


   &OHDU                                                                    &DVK
                     7UDQVIHURU             7UDQVIHUHH
   'DWH                                                             'LVEXUVHPHQWV
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3         
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3         
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3         
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
  '&6RODU6ROXWLRQV,QF    1L[RQ3HDERG\//3           
7RWDO&DVK'LVEXUVHPHQWV                                         




                                                                                                EXHIBIT 7 3DJHRI
